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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            EASTERN DIVISION


    TOMMIE J. JONES,                            }
                                                }
    Plaintiff,                                  }
                                                }
    v.                                          }       Case No. 1:23-cv-01506-MHH
                                                }
    LELAND DUDEK, ACTING                        }
    COMMISSIONER OF SOCIAL                      }
    SECURITY, 1                                 }
                                                }
    Defendant.                                  }



                              MEMORANDUM OPINION

         Tommie J. Jones has asked the Court to review a final adverse decision of the

Commissioner of Social Security. The Commissioner denied Mr. Jones’s claim for

supplemental security income based on an Administrative Law Judge’s finding that

Mr. Jones was not disabled. Mr. Jones argues that the Administrative Law Judge—

the ALJ—did not sufficiently evaluate the opinions of several consultative doctors.

After review of the administrative record, for the reasons discussed below, the Court

remands this matter to the Commissioner for further proceedings.


1
  On February 17, 2025, Leland Dudek became the Acting Commissioner of the Social Security
Administration. Pursuant to Federal Rule of Civil Procedure 25(d), the Court substitutes
Commissioner Dudek as the defendant in this action. See Fed. R. Civ. P. 25(d) (Although the
public officer’s “successor is automatically substituted as a party” when the predecessor no longer
holds office, the “court may order substitution at any time. . . .”).
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                        ADMINISTRATIVE PROCEEDINGS

       To succeed in his administrative proceedings, Mr. Jones had to prove that he

was disabled. Gaskin v. Comm’r of Soc. Sec., 533 Fed. Appx. 929, 930 (11th Cir.

2013). “A claimant is disabled if he is unable to engage in substantial gainful activity

by reason of a medically-determinable impairment that can be expected to result in

death or which has lasted or can be expected to last for a continuous period of at

least 12 months.” Gaskin, 533 Fed. Appx. at 930 (citing 42 U.S.C. § 423(d)(1)(A)).2

       To determine whether a claimant has proven that he is disabled, an ALJ

follows a five-step sequential evaluation process. The ALJ considers:

       (1) whether the claimant is currently engaged in substantial gainful
       activity; (2) whether the claimant has a severe impairment or
       combination of impairments; (3) whether the impairment meets or
       equals the severity of the specified impairments in the Listing of
       Impairments; (4) based on a residual functional capacity (“RFC”)
       assessment, whether the claimant can perform any of his or her past
       relevant work despite the impairment; and (5) whether there are
       significant numbers of jobs in the national economy that the claimant
       can perform given the claimant’s RFC, age, education, and work
       experience.

Winschel v. Comm’r of Soc. Sec. Admin., 631 F.3d 1176, 1178 (11th Cir. 2011).

“The claimant has the burden of proof with respect to the first four steps.” Wright


2
    Title II of the Social Security Act governs applications for benefits under the Social Security
Administration’s disability insurance program. Title XVI of the Act governs applications for
Supplemental Security Income or SSI. “For all individuals applying for disability benefits under
title II, and for adults applying under title XVI, the definition of disability is the same.”
https://www.ssa.gov/disability/professionals/bluebook/general-info.htm (lasted visited Feb. 28,
2025).


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v. Comm’r of Soc. Sec., 327 Fed. Appx. 135, 136-37 (11th Cir. 2009). “Under the

fifth step, the burden shifts to the Commissioner to show that the claimant can

perform other jobs that exist in the national economy.” Wright, 327 Fed. Appx. at

137.

       Mr. Jones applied for supplemental security income benefits on February 10,

2020. (Doc. 6-7, pp. 4-10).3 Mr. Jones alleged that his disability began on January

1, 2011. (Doc. 6-7, p. 4). 4 The Social Security Commissioner initially denied Mr.

Jones’s claims, and Mr. Jones requested a hearing before an Administrative Law




3
   Mr. Jones indicated that he previously received disability benefits that were “stopped when he
missed an appointment set up by the SSA.” (Doc. 6-11, p. 3; Doc. 6-12, p. 26). The record is
unclear as to when Mr. Jones’s prior disability benefits began and ended, but the Court surmises
he received benefits sometime before 2017. On August 22, 2017, Mr. Jones reapplied for SSI
benefits. (Doc. 6-4, p. 6). Mr. Jones did not appear for a hearing, and the ALJ denied his
application. (Doc. 6-4, p. 5). The Appeals Council remanded and directed the ALJ to determine
if Mr. Jones had “good cause” for not appearing at the hearing, and if so, to schedule another
hearing. (Doc. 6-4, p. 5). The ALJ held a telephone hearing on January 16, 2019 because Mr.
Jones “ha[d] been banned from entering any Social Security office for any reason.” (Doc. 6-4, p.
5). Mr. Jones “chose to appear and testify without the assistance of an attorney or other
representative.” (Doc. 6-4, p. 5). The ALJ found that Mr. Jones was not disabled and denied his
application for benefits on March 26, 2019. (Doc. 6-4, pp. 5-16). The Appeals Council declined
Mr. Jones’s request for review on September 18, 2019. The Court cannot find in the record
whether Mr. Jones appealed that decision to a federal district court.
4
  A claimant becomes eligible for SSI benefits in the first month in which he is “both disabled and
has an SSI application on file.” Moore v. Barnhart, 405 F.3d 1208, 1211 (11th Cir. 2005); see
also 20 C.F.R. §§ 416.330, 416.335 (2023). For his SSI claim, Mr. Jones had to prove that he was
disabled between the application date of February 10, 2020 through the ALJ’s decision on April
21, 2023. Moore, 405 F.3d at 1211. Given Mr. Jones’s prior award of disability benefits and the
nature of Mr. Jones’s long-standing chronic physical and mental impairments, Mr. Jones’s medical
records before February 2020 are relevant to whether he was disabled between February 2020 and
April 2023.



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Judge. (Doc. 6-4, p. 49; Doc. 6-5, pp. 3, 12, 20-21). Because of COVID, Mr. Jones

and his attorney had a telephone hearing with an ALJ on February 6, 2023. (Doc. 6-

3, pp. 51-76).5 A vocational expert testified at the hearing. (Doc. 6-3, pp. 70-76).

       The ALJ issued an unfavorable decision on April 21, 2023. (Doc. 6-3, pp. 30-

41). On August 31, 2023, the Appeals Council declined Mr. Jones’s request for

review, (Doc. 6-3, p. 2), making the Commissioner’s decision final and thus a proper

candidate for this Court’s judicial review. See 42 U.S.C. § 405(g).


5
   The ALJ initially scheduled an administrative hearing for April 25, 2022, but Mr. Jones’s
attorney requested a continuance because Mr. Jones was incarcerated and did not consent to a
phone hearing. (Doc. 6-5, pp. 56-58). The ALJ rescheduled the hearing for August 29, 2022.
(Doc. 6-5, pp. 67, 72, 86, 88). The ALJ, Mr. Jones’s attorney, and a vocation expert appeared for
the hearing. Mr. Jones did not appear for the hearing because he was in the Cherokee County jail.
Mr. Jones’s attorney requested that the ALJ reschedule and set a telephone hearing. (Doc. 6-3, pp.
77-80).

Regarding Mr. Jones’s incarceration, a federal grand jury indicted Mr. Jones on several drug counts
on July 27, 2021, and he was arrested and held in the DeKalb County Jail. (Docs. 1, 3 in 4:21-cr-
231-CLM-GMB). On March 11, 2022, Mr. Jones pleaded guilty to four counts of distribution of
methamphetamine in federal district court and remained in custody pending his sentencing. (Doc.
44 and Mar. 11, 2022 Minute Entry in 4:21-cr-231-CLM-GMB). On August 17, 2023, United
States District Court Judge Corey Maze sentenced Mr. Jones to 77 months of imprisonment. (Doc.
46 in 4:21-cr-231-CLM-GMB). The federal prisoner locator indicates that Mr. Jones is
incarcerated at FCI Forrest City Medium with a projected release date of March 1, 2028. See
https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results (last visited Mar. 20, 2025).

Mr. Jones’s March 11, 2022 felony conviction does not invalidate his February 10, 2020
application for supplemental security income, but his felony conviction may affect the amount he
may recover if, on remand, the Social Security Administration awards benefits. See
https://www.ssa.gov/reentry/benefits.htm?tl=0%2C1%2C2%2C3%2C4%2C5%2C7 (last visited
Mar. 20, 2025) (“We generally do not pay . . . Supplemental Security Income (SSI) recipients
during confinement for a crime in jail, prison[,] or certain other public institutions. [] If you get
SSI, we will stop your payments after you are imprisoned for a month. [] However, if you are
jailed 12 consecutive months or longer, you will have to file a new application and again be
approved for SSI by Social Security.”).



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               EVIDENCE IN THE ADMINISTRATIVE RECORD

                              Mr. Jones’s Education Records

       Mr. Jones was in the special education program at Collinsville High School.

(Doc. 6-3, p. 50; Doc. 6-13, p. 132). He did not pass the Alabama High School

Graduation Exam in reading, math, or language. (Doc. 6-3, p. 50). He received a

“Certificate of Attendance” for attending school through the twelfth grade. (Doc. 6-

3, p. 50).

                               Mr. Jones’s Medical Records

       To support his application, Mr. Jones submitted medical records relating to

the treatment and diagnoses of major depressive disorder; bipolar disorder; anxiety;

neck, back, shoulder, leg, and arm pain; lumbar and cervical radiculopathy; and

chronic pain syndrome. 6 The Court has reviewed Mr. Jones’s complete medical



6
   “Bipolar disorder, formerly called manic depression, is a mental health condition that causes
extreme mood swings. These include emotional highs, also known as mania or hypomania, and
lows, also known as depression.” See https://www.mayoclinic.org/diseases-conditions/bipolar-
disorder/symptoms-causes/syc-20355955 (last visited Feb. 28, 2025).

“Radiculopathy describes a range of symptoms produced by the pinching of a nerve root in the
spinal column. The pinched nerve can occur at different areas along the spine (cervical, thoracic[,]
or lumbar). Symptoms of radiculopathy vary by location but frequently include pain, weakness,
numbness[,] and tingling. A common cause of radiculopathy is narrowing of the space where
nerve roots exit the spine, which can be a result of stenosis, bone spurs, disc herniation or other
conditions. Radiculopathy symptoms can often be managed with nonsurgical treatments, but
minimally invasive surgery can also help some patients. . . . When radiculopathy occurs in the
lower back, it is known as lumbar radiculopathy, also referred to as sciatica because nerve roots
that make up the sciatic nerve are often involved. . . . Cervical radiculopathy describes a
compressed nerve root in the neck (cervical spine). Because the nerve roots in this area of the
spine primarily control sensations in your arms and hands, this is where the symptoms are most
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history and summarizes the following medical records because they are most

relevant to Mr. Jones’s arguments in this appeal.

                                      Mental Impairments

     Mr. Jones sought mental health treatment at CED Mental Health Center in 2012

and 2013. (Doc. 6-20, pp. 183-192). Mr. Jones reported depression, anger outbursts,

isolation, hopelessness, and irritability. (Doc. 6-20, pp. 183, 185, 186, 187, 189,

190). In 2012, Dr. Marino Tulao diagnosed Mr. Jones with major depressive

disorder and prescribed Effexor, Prozac, Cymbalta, and Abilify. Mr. Jones reported

that Effexor and Prozac made him sick. (Doc. 6-20, pp. 186, 190-191).7




likely    to    occur.”           See     https://www.hopkinsmedicine.org/health/conditions-and-
diseases/radiculopathy (last visited Feb. 28, 2025).

“Chronic pain syndrome (CPS) is a common problem that presents a major challenge to health-
care providers because of its complex natural history, unclear etiology, and poor response to
therapy. A poorly defined condition, CPS is a constellation of syndromes that usually do not
respond to the medical model of care. Most authors consider ongoing pain lasting longer than 6
months as diagnostic, and others have used 3 months as the minimum criterion.” See
https://emedicine.medscape.com/article/310834-overview?form=fpf (last visited Feb. 28, 2025).
7
   Effexor is used to treat depression, generalized anxiety disorder, social anxiety disorder, and
panic disorder.            See https://www.mayoclinic.org/drugs-supplements/venlafaxine-oral-
route/description/drg-20067379 (last visited Feb. 28, 2025). Prozac is used together with other
medications to treat bipolar disorder and “treatment resistant depression in patients who have
received at least 2 previous treatments but did not work well.”                                  See
https://www.mayoclinic.org/drugs-supplements/fluoxetine-oral-route/description/drg-20063952
(last visited Feb. 28, 2025). Cymbalta is used to treat depression and anxiety and “pain caused by
nerve damage associated with diabetes (diabetic peripheral neuropathy).”                         See
https://www.mayoclinic.org/drugs-supplements/duloxetine-oral-route/description/drg-20067247
(last visited Feb. 28, 2025). Abilify is used “alone or together with other medicines to treat mental
conditions such as bipolar I disorder (manic-depressive illness), major depressive disorder, and
schizophrenia.”           See    https://www.mayoclinic.org/drugs-supplements/aripiprazole-oral-
route/description/drg-20066890 (last visited Feb. 28, 2025).
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    Mr. Jones saw Dr. Alethia Sellers at UAB on September 16, 2013 and reported

anxiety, anger, depression, hopelessness, frustration, and worry. (Doc. 6-17, pp.

132, 135). Dr. Sellers noted that Mr. Jones had a cooperative, depressed mood and

flat affect. (Doc. 6-17, p. 136). Dr. Sellers prescribed Effexor. (Doc. 6-17, p. 136).

    On November 13, 2017, Mr. Jones saw Dr. Muhammad Tariq at Quality of Life

and complained of depression, anxiety, hopelessness, and decreased sleep. (Doc. 6-

15, pp. 154, 157). He had appropriate mood and affect. (Doc. 6-15, p. 158). Dr.

Tariq referred Mr. Jones to Quality of Life Behavioral Health. (Doc. 6-15, p. 158).

    On January 22, 2018, Mr. Jones saw therapist Aundrea Swain at CED Mental

Health Center. She noted that Mr. Jones was “very angry [and] hostile when he

[first] arrived.” (Doc. 6-14, pp. 157, 160). Mr. Jones indicated that he was

unemployed, was trying to “restart disability,” and had spent 10 years in prison for

drugs. (Doc. 6-4, p. 169). Mr. Jones reported daily visual hallucinations of “black

spots and shadows,” insomnia, homicidal ideations two months prior, isolation,

anger outbursts, severe mood swings, paranoia, and claustrophobia. (Doc. 6-14, pp.

157-158, 160, 167, 170). Mr. Jones stated that he was traumatized as a child “when

he was closed in a closet every day in elementary school.” (Doc. 6-14, p. 169). He

indicated that he hallucinated about his deceased cousin. (Doc. 6-14, p. 158). Mr.

Jones scored a 24 on the PHQ-9 depression questionnaire, indicating severe




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depression. (Doc. 6-14, p. 158). 8 Ms. Swain noted that Mr. Jones had a depressed,

anxious, and agitated mood; poor insight; fair judgment; and adequate attention and

concentration. (Doc. 6-14, pp. 156, 160). Ms. Swain’s diagnostic impression was

bipolar affective disorder, current episode manic with psychotic symptoms. (Doc.

6-14, pp. 161, 171; Doc. 6-20, p. 146). 9

     Mr. Jones told Ms. Swain that he was angry about the Collinsville Police

impounding his car on Saturday, January 27, 2018. (Doc. 6-14, p. 155). Mr. Jones

stated that if the police came near him, there would be a “shootout.” (Doc. 6-14, p.

155). Mr. Jones denied having a gun but indicated he could get one. (Doc. 6-14, p.

155). Ms. Swain called the police and reported the threat, and her supervisor

informed front desk staff to call the police if Mr. Jones came to the office. (Doc. 6-

14, p. 155).

     At a visit with CRNP Romaine Heard in Dr. Tariq’s office on March 29, 2018,

Mr. Jones scored an 11 on the PHQ-9, indicating moderate depression. (Doc. 6-15,

pp. 160-161). Mr. Jones reported that on more than half the days of the previous

two weeks, he felt down, depressed, hopeless, and tired and had trouble sleeping and

concentrating. (Doc. 6-15, p. 160).


8
  A PHQ-9 score of 10-14 indicates moderate depression, a score of 15-19 indicates moderately
severe depression, and a score of 20-27 indicates severe depression.                     See
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1495268/ (last visited Feb. 28, 2025).
9
   Ms. Swain’s diagnostic impression was “F31.2,” which is the diagnostic code for bipolar
affective disorder. See https://icd.who.int/browse10/2015/en#/F31.2 (last visited Feb. 25, 2025).
                                               8
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    Mr. Jones missed his therapy appointment on April 30, 2018. (Doc. 6-14, pp.

152-153). On May 3, 2018, Mr. Jones called Ms. Swain and demanded to see the

psychiatrist for medication refills. (Doc. 6-14, p. 151). When Ms. Swain explained

that Mr. Jones needed to see a therapist, Mr. Jones became belligerent. (Doc. 6-14,

p. 151). Ms. Swain wrote that Mr. Jones stated: “‘I’m not coming to see no

therapist[.] I’m walking in going straight to the doctor’s office & yall not going to

stop me.’” (Doc. 6-14, p. 151). Ms. Swain informed the front desk to notify the

supervisor if Mr. Jones came to the office and stated that she would call the police

if Mr. Jones presented with threatening behavior. (Doc. 6-14, p. 151). Mr. Jones

did not attend a July 10, 2018 therapy appointment; Ms. Ashley Johnson at CED

could not reach Mr. Jones about the missed appointment because his number was

disconnected. (Doc. 6-14, p. 150).

    On August 6, 2018, Mr. Jones called Ms. Swain for medical refills and stated

that he had been in jail. (Doc. 6-14, p. 149). Ms. Swain explained to Mr. Jones that

he needed to see a therapist for medical refills and informed him of his August 7,

2018 appointment. (Doc. 6-14, p. 149). When Mr. Jones did not attend his August

7 appointment, a CED staff person called him. (Doc. 6-14, p. 148). Mr. Jones stated

that he forgot about the appointment, did not have transportation, and could not come

because he was caring for an infant. (Doc. 6-14, p. 148). Mr. Jones indicated that

he had been jailed for a drug-related offense. (Doc. 6-14, p. 148). On August 20,


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2018, Mr. Jones told Dr. Adam Kessler at the UAB Hospital emergency department

that he was not taking some of his psychiatric mediations and had anxiety,

claustrophobia, and left eye twitching. (Doc. 6-14, p. 99).

       Mr. Jones went to the Gadsden Regional Medical Center emergency department

on August 23, 2018 and complained of severe anxiety, depression, and

claustrophobia. (Doc. 6-18, p. 21). Mr. Jones reported that he had nightmares and

saw “shadows out of the corner of his eye.” (Doc. 6-18, p. 24). Mr. Jones demanded

treatment at “Erlanger, Vanderbilt[,] or Atlanta hospital” and told the attending

physician to leave the room. (Doc. 6-18, p. 36). Mr. Jones stated that he had been

jumping out of cars because of his claustrophobia and that he had not taken his

psychiatric medication in months and needed refills. (Doc. 6-18, p. 36). He had a

flat affect. (Doc. 6-18, pp. 24, 25). Dr. Tapan Abrol diagnosed depression and

“possibl[e] PTSD,” recommended a psychiatry follow up as an outpatient, and

“start[ed] [an] SSRI and Prazosin for PTSD.” (Doc. 6-18, p. 25).

       On August 27, 2018, Mr. Jones saw a therapist at CED Mental Health Center

as a “crisis walk-in.” (Doc. 6-14, p. 146). 10 Mr. Jones reported anger outbursts,

depression, and visual hallucinations. (Doc. 6-14, p. 146). He stated that he was

angry because of battles with his attorneys, and he was trying to get his disability



10
     The name of the therapist is illegible.


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reinstated and felt that everyone was against him. (Doc. 6-14, p. 147). The therapist

wrote that Mr. Jones was volatile and had an aggressive tone. (Doc. 6-14, p. 147).

    On September 11, 2018, Mr. Jones called the CED office and was verbally

abusive to front staff and the coordinator. (Doc. 6-14, p. 145). Mr. Jones threatened

to come to the office at 3:30 p.m. to “show [them] what he was going to do” and

stated that “[w]hen [he got] there, [he would] see the doctor[,] and if not[,] things

[would] pop off.” (Doc. 6-14, p. 145). The county coordinator and executive

director informed the Attalla Chief of Police, and a police officer came to the mental

health center. (Doc. 6-14, p. 145). Mr. Jones arrived at 3:49 p.m. carrying a large

black trash bag that he stated contained mental health papers and demanded to see

the psychiatrist for medication refills. (Doc. 6-14, p. 144). Ms. Swain explained

that they had given him a three-month refill on August 27, 2018, but Mr. Jones

wanted more medication because the emergency department destroyed his

medications. (Doc. 6-14, p. 144). Ms. Swain informed Mr. Jones that his next

therapy appointment was September 24, 2018. (Doc. 6-14, p. 144). The police

officer escorted Mr. Jones out of the building. (Doc. 6-14, p. 144).

    On September 11, 2018, Mr. Jones saw Dr. Robert Smith at Gadsden Regional

Medical Center emergency department and complained of stress and anxiety. (Doc.

6-18, p. 4). Mr. Jones stated he was tired of dealing with everyone but denied

suicidal and homicidal ideation. (Doc. 6-18, p. 4). He requested Valium. (Doc. 6-


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18, p. 4).11 Mr. Jones indicated that he had his medications with him at an emergency

department visit several days earlier, but the hospital did not return his medications.

(Doc. 6-18, p. 4). Dr. Smith noted that he spoke with Debbie Brooks at the

emergency department, and she found Mr. Jones’s medications, gave them back to

him, and apologized for his inconvenience. (Doc. 6-18, p. 6).

     Mr. Jones did not attend his September 24, 2018 therapy session. (Doc. 6-14,

p. 143). At an October 26, 2018 session with therapist Ashley Johnson, Mr. Jones

was upset, had a constricted mood, and stated: “F social security, F mental health,

F the Judge and the attorney.” (Doc. 6-14, p. 142).

     On December 20, 2018, Mr. Jones saw Dr. Huma Khusro at CED Mental Health

Center. (Doc. 6-12, p. 25). Dr. Khusro noted that Mr. Jones last saw Dr. Feist at the

center in January 2018, had issues with noncompliance with treatment, and did not

attend seven appointments in 2018. (Doc. 6-12, p. 26). Mr. Jones stated that he had

been incarcerated six to seven years for drug-related charges and was jailed for

domestic violence in January 2018. (Doc. 6-12, pp. 18, 26). Mr. Jones reported that

his twin brother had mental health issues and was on disability; Mr. Jones had




11
   Valium is used to “relieve symptoms of anxiety and alcohol withdrawal. This medicine may
also be used to treat certain seizure disorders and help relax muscles or relieve muscle spasm.”
See         https://www.mayoclinic.org/drugs-supplements/diazepam-oral-route/description/drg-
20072333 (last visited Feb. 28, 2025).
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received Social Security disability that was “cancelled” because “he missed an[]

appointment.” (Doc. 6-12, p. 26).

     Mr. Jones reported poor sleep, low energy, stress, and “long standing . . . anger

issues that date[d] back to his elementary school years.” (Doc. 6-12, p. 26). Dr.

Khusro diagnosed “[b]ipolar disorder, current episode manic severe with psychotic

features.” (Doc. 6-12, p. 27). Mr. Jones requested Valium because it kept him calm,

but Dr. Khusro did not prescribe Valium because of Mr. Jones’s “tendency to assign

blame to others rather than accept responsibility for his own actions.” (Doc. 6-12,

p. 26). Dr. Khusro prescribed Zoloft, Neurontin, and Abilify. (Doc. 6-12, p. 26).12

     Mr. Jones called the CED Mental Health Center on January 24, 2019 and

complained that his medications were not working; he requested Valium. (Doc. 6-

20, p. 161). Mr. Jones saw Dr. Tariq on January 10 and 28, 2019 and complained of

extreme anxiety, depression, panic attacks, chest pain related to anxiety, compulsive

thoughts, and lack of sleep. (Doc. 6-16, pp. 2-17). Mr. Jones explained that he had

seen Dr. Feist at CED Mental Health Center and took valium for his anxiety, but his

new psychiatrist would not prescribe Valium. (Doc. 6-16, p. 2). Mr. Jones requested

a Valium prescription and refills of his anxiety medication. (Doc. 6-16, pp. 2, 10).


12
   Zoloft is used to treat depression, obsessive-compulsive disorder, panic disorder, posttraumatic
stress disorder, and social anxiety disorder.            See https://www.mayoclinic.org/drugs-
supplements/sertraline-oral-route/description/drg-20065940 (last visited Feb. 28, 2025).
Neurontin can be used to “relieve the pain of diabetic neuropathy (numbness or tingling due to
nerve        damage         in       people       who       have       diabetes).”             See
https://medlineplus.gov/druginfo/meds/a694007.html (last visited Feb. 28, 2025).
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Mr. Jones was anxious but had appropriate mood and affect with no suicidal

ideation. (Doc. 6-16, pp. 7, 15).

     Mr. Jones did not attend therapy appointments at CED Mental Health Center in

March, April, and May 2019. (Doc. 6-12, p. 19; Doc. 6-20, p. 161). On August 14,

2019, Mr. Jones saw CRNP Judith Morris and therapist Chardonney Johnson at CED

Mental Health Center and reported that he was not doing well. He requested a

Valium prescription. (Doc. 6-12, pp. 17-19, 21-24). CRNP Morris noted that Mr.

Jones had not seen Dr. Khusro since December 20, 2018. (Doc. 6-12, p. 18). Mr.

Jones indicated that he lived with his common law spouse and her children ages five

and eleven. (Doc. 6-12, p. 18). Mr. Jones reported that he and his twin brother had

the same mental condition and that his brother was in a group home in Louisiana.

(Doc. 6-12, pp. 18, 22). Mr. Jones stated that his 24-year-old son had bipolar

disorder and schizophrenia, did not take his psychiatric medications, was in jail for

stabbing someone, and had multiple assault charges. (Doc. 6-12, p. 18).

     Mr. Jones reported daily mood swings, depression rated at 10/10 two to three

days a week, daily anger outbursts, trouble sleeping, anxiety, panic attacks, isolative

behaviors, and physical pain from four car accidents. (Doc. 6-12, pp. 17-18, 22-23).

Ms. Johnson noted Mr. Jones’s history of aggressive behavior and non-compliance

with treatment. (Doc. 6-12, p. 21). Mr. Jones stated that he did not “like being angry

but situations [had] worn [him] down.” (Doc. 6-12, p. 22). Mr. Jones stated that he


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needed to get back on his medications and that Valium was the only medication that

helped his anxiety. (Doc. 6-12, pp. 18, 22). Mr. Jones did not take Neurontin and

Abilify because they made him sick, and he did not take Zoloft because it made him

drowsy. (Dc. 6-12, p. 18).

       CRNP Morris noted that Mr. Jones walked slowly and had difficulty moving

his head. (Doc. 6-12, p. 17). Mr. Jones had a dysphoric mood, constricted and

tearful affect, tangential thought processes, impaired concentration, and limited

insight and judgment. (Doc. 6-12, p. 17). CRNP Morris noted Mr. Jones’s past

attempts to harm others. (Doc. 6-12, p. 17). CRNP Morris diagnosed “[b]ipolar

D/O current episode manic severe with psychotic features” and “R/O antisocial

personality D/O.” (Doc. 6-12, p. 19). CRNP Morris noted that Mr. Jones was unable

to manage his psychiatric symptoms independently and needed continued medical

treatment. (Doc. 6-12, p. 19). CRNP Morris discontinued Neurontin, Zoloft, and

Abilify and prescribed Lexapro. (Doc. 6-12, p. 19).13 Ms. Johnson increased Mr.

Jones’s therapy sessions “to address depressive symptoms and anger management.”

(Doc. 6-12, p. 22).

     During an April 7, 2020 telehealth visit with Mr. Johnson, Mr. Jones apologized

for his language and behavior during a prior phone call. (Doc. 6-20, p. 162). He


13
       Lexapro is used to treat depression and generalized anxiety disorder.            See
https://www.mayoclinic.org/drugs-supplements/escitalopram-oral-route/description/drg-
20063707 (last visited Feb. 28, 2025).
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reported anxiety, severe depression, trouble sleeping, bad mood swings, anger

outbursts, paranoia, and difficulty riding in cars. (Doc. 6-20, pp. 162-163). Mr.

Jones declined to complete a PHQ-9 questionnaire. (Doc. 6-20, p. 166). Mr. Jones

reported that he had “been off [] his medications for a while and would like to get

back on them ASAP.”           (Doc. 6-20, p. 162).        He requested monthly therapy

appointments to “deal with anger.” (Doc. 6-20, p. 162). He had an euthymic mood

and appropriate affect. (Doc. 6-20, p. 162).

     On April 23, 2020, Mr. Jones saw CRNP Morris and reported that he was not

doing well and had increased anxiety, irritability, and agitation. (Doc. 6-20, pp. 159-

160). CRNP Morris noted that Mr. Jones’s last visit to the clinic was August 14,

2019 and that he last saw Dr. Khusro on December 20, 2018. (Doc. 6-20, p. 160).

Mr. Jones stated that he needed to get back on his medications and requested Valium

because it calmed him. (Doc. 6-20, p. 160). He reported that he had a “brain bleed,”

needed surgery, had no insurance, and depended on community agencies and the

Catholic church to help him with his bills and medications. (Doc. 6-20, p. 160).

CRNP Morris diagnosed “[b]ipolar disorder, current episode manic severe with

psychotic features,” discontinued Lexapro, and gave Mr. Jones a trial of Paxil. (Doc.

6-2, p. 161). 14



14
   Paxil is used to treat depression, obsessive-compulsive disorder, panic disorder, generalized
anxiety disorder, social anxiety disorder, and posttraumatic stress disorder.                See
                                              16
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     At a May 11, 2020 telehealth visit with Ms. Johnson, Mr. Jones reported racing

thoughts, mood swings, depression, anger outbursts, and paranoia. (Doc. 6-20, p.

156). Mr. Jones stated that he was “waiting on disability to give him his money.”

(Doc. 6-20, p. 155). He reported that police were bothering him for no reason and

stated, “‘it’s going to be a killing down here in Gadsden before it’s all over.’” (Doc.

6-20, p. 156). Mr. Jones denied thoughts of harming himself or others and indicated

that he did not have “access to any guns or large knives.” (Doc. 6-20, p. 156). He

indicated that he was “verbally offensive” to his family. (Doc. 6-20, p. 156). He

had a labile mood and blunted affect. (Doc. 6-20, p. 155). He reported no change

taking Paxil. Ms. Johnson explained that it might take four to six weeks for the

medication to work. (Doc. 6-20, pp. 155, 156).

     Mr. Jones did not attend a July 15, 2020 therapy appointment. (Doc. 6-12, p.

63). During a telehealth therapy session with Ms. Johnson on August 5, 2020, Mr.

Jones reported that he was “pissed off,” frustrated, angry, anxious, and depressed.

(Doc. 6-20, p. 151). He stated that “everybody [was] stacked up against him,” that

he did not know why people kept “messing with him,” and that many of his issues

stemmed from “‘messing with a white woman 25 [] years ago’” and “‘dealing

drugs.’” (Doc. 6-20, p. 152). He was not taking his medications because they did




https://www.mayoclinic.org/drugs-supplements/paroxetine-oral-route/description/drg-20067632
(last visited Feb. 28, 2025).
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not work. (Doc. 6-20, pp. 151, 153). He had an euthymic mood and appropriate

affect. (Doc. 6-20, p. 151). At an October 26, 2020 visit with Dr. Tariq, Mr. Jones

scored a 2 on the PHQ-2 depression screening questionnaire.15 (Doc. 6-12, pp. 116-

117). On the PHQ-2 questionnaire, Mr. Jones indicated he daily had trouble sleeping

and had little energy. (Doc. 6-12, p. 117). His medications included Vistaril. (Doc.

6-12, p. 119).16

     During a November 4, 2020 telehealth visit with therapist April Reed at CED,

Mr. Jones reported depression, increased anger, and trouble sleeping. (Doc. 6-20,

pp. 147, 149). Mr. Jones stated that his “ex-attorney used to threaten him all the

time” and told him he “need[ed] to just go get a job,” that he had “paranoid thoughts

about everybody,” and that people at Quality of Life gave him “nasty looks every

time.” (Doc. 6-20, p. 148). Mr. Jones indicated that he coped with his bipolar

symptoms by driving “100 miles per hour” while listening to loud music. (Doc. 6-

20, pp. 148, 149). Mr. Jones stated that he took his mental health medications as




15
   “The PHQ-2 inquires about the frequency of depressed mood and anhedonia over the [prior]
two weeks. The PHQ-2 includes the first two items of the PHQ-9,” a more detailed depression
screening tool. The PHQ-2 does not diagnose or monitor the severity of depression but rather
screens for depression as a “‘first step’ approach.” A PHQ-2 score ranges from 0 to 6, with a score
of 3 requiring further evaluation. See https://reference.medscape.com/calculator/458/patient-
health-questionnaire-2-phq-2 (last visited Feb. 23, 2025).
16
   Vistaril “help[s] control anxiety and tension caused by nervous and emotional conditions. It can
also be used to help control anxiety and produce sleep before surgery.”                         See
https://www.mayoclinic.org/drugs-supplements/hydroxyzine-oral-route/description/drg-
20311434 (last visited Feb. 28, 2025).
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prescribed, but they did not help. He requested Valium. (Doc. 6-20, p. 147). Ms.

Reed “explained that CED’s policy in regards to controlled substances ha[d]

changed.” (Doc. 6-20, p. 149).

    During a telehealth session with Ms. Washington on February 23, 2021, Mr.

Jones stated that he was “not doing well,” was not taking his medications, but did

not have suicidal or homicidal thoughts. (Doc. 6-20, p. 141). He reported daily

mood swings, daily anger outbursts, trouble sleeping, isolative behaviors, anxiety

riding in a car, and depression that he rated at 10/10. (Doc. 6-20, p. 143). He stated

that he was incarcerated in January and released in February and that he was moving

to Mobile, Alabama and was “looking forward to starting fresh.” (Doc. 6-20, p.

141). He had a labile mood, flat affect, and normal orientation. (Doc. 6-20, p. 141).

Ms. Washington noted that Mr. Jones had several barriers to mental health treatment:

a history of aggressive behavior, several physical health challenges, issues with non-

compliance, legal issues, and incarcerations. (Doc. 6-20, p. 142). Mr. Jones stated

that his goals were to decrease his daily bipolar symptoms to “less than 3

days/week,” have “0 incarcerations for the next 12 consecutive months, attend his

scheduled appointments, take his medications, and verbalize concerns to his

therapist or psychiatrist as necessary. (Doc. 6-20, p. 143). His target date for

achieving his goals was “2/23/2022.” (Doc. 6-20, p. 143). On March 2, 2021, Mr.




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Jones had a labile mood and blunted affect and refused to complete a PHQ-9

questionnaire. (Doc. 6-20, pp. 144-145).

       Medical records dated August 2021 through February 2023 from Mr. Jones’s

incarceration at Cherokee County jail showed that he requested to see a “mental

doctor” on February 1, 2023. (Doc. 6-21, p. 126). His medications included

Wellbutrin, Buspar, and Celexa. (Doc. 6-21, pp. 59, 62, 147, 153, 155, 157, 158).17

On February 2, 2023, Mr. Jones indicated that Celexa worked well. (Doc. 6-21, p.

59).

       On September 3, 2021, Ms. Washington discharged Mr. Jones from outpatient

mental health services at CED Mental Health Center because Mr. Jones had not

contacted the center and “possibly relocated to Selma, AL.” (Doc. 6-20, p. 138).

His medications at the time of discharge included Buspar and Neurontin. (Doc. 6-

20, p. 138).

                                    Physical Impairments

       In July 2011, Mr. Jones injured his neck and back at work, and several

neurosurgeons evaluated him for workers compensation and cleared him to work.



17
    Wellbutrin is used to treat major depressive disorder and seasonal affective disorder. See
https://www.mayoclinic.org/drugs-supplements/bupropion-oral-route/description/drg-20062478
(last visited Feb. 28, 2025). Buspar is used to treat anxiety disorders or to relieve the symptoms
of      anxiety.          See    https://www.mayoclinic.org/drugs-supplements/buspirone-oral-
route/description/drg-20062457 (last visited Feb. 28, 2025). Celexa is used to treat major
depressive disorder.        See https://www.mayoclinic.org/drugs-supplements/citalopram-oral-
route/description/drg-20062980 (last visited Feb. 28, 2025).
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(Doc. 6-13, p. 2; Doc. 6-19, p. 45). An August 2011 thoracic spine MRI showed

mild thoracic spondylosis, “tiny endplate osteophytes at T8-9 and T9-10,” and “no

focal nerve root compression.” (Doc. 6-18, p. 62; Doc. 6-19, p. 87). 18 A September

2011 cervical spine MRI showed “early cervical spinal stenosis” at C3-4, “moderate

cervical foraminal stenosis” worse at C3-4 and C6-7, and “no focal soft disc

protrusion or herniation.” (Doc. 6-18, p. 64; Doc. 6-19, p. 85).19

     In November 2011, Mr. Jones injured his left shoulder and lower back in a car

accident. (Doc. 6-13, p. 4; Doc. 6-18, p. 67; Doc. 6-19, p. 45). He reported “electric


18
   “Spondylosis is an umbrella term for different forms of age-related degeneration of the spine.”
See https://www.neurosurgery.columbia.edu/patient-care/conditions/spondylosis (last visited Feb.
28, 2025). Osteophytes are spurs on the small bones that form the spine that can “narrow the space
that contains the spinal cord. These bone spurs can pinch the spinal cord or its nerve roots . . .
[and] cause weakness or numbness in the arms or legs.” See https://www.mayoclinic.org/diseases-
conditions/bone-spurs/symptoms-causes/syc-20370212 (last visited Feb. 28, 2025).
19
    “Cervical spinal stenosis occurs when one or more intervertebral foramina (bony openings
where the spinal nerves exit the spinal canal) become narrowed within the neck. When too much
narrowing leads to spinal nerve compression and/or inflammation, symptoms of pain, tingling,
numbness, and/or weakness may radiate from the neck into the arm.” Cervical foraminal stenosis
symptoms can “vary from mild annoyance to severe or debilitating” and can include neck pain;
“cervical radicular pain that is electric-like and radiates into the arm or hand”; and “cervical
radiculopathy, which includes neurological deficits such as numbness, reflex problems, and/or
weakness in the shoulder, arm, hand, or fingers.”                     See       https://www.spine-
health.com/conditions/spinal-stenosis/cervical-foraminal-stenosis (last visited Feb. 28, 2025).

Cervical spinal stenosis can cause neck pain; numbness, tingling, weakness, and clumsiness in the
arm, hand, leg, or foot; and decreased function in the hands.                                   See
https://my.clevelandclinic.org/health/diseases/17499-spinal-stenosis (last visited Feb. 28, 2025).

“Cervical spinal stenosis does not always cause symptoms. It is possible to have cervical foraminal
narrowing that is visible on medical imaging, such as an MRI, without any associated pain or
neurological deficits. The underlying factors as to why some people with cervical foraminal
stenosis have symptoms and others do not is still being researched.” See https://www.spine-
health.com/conditions/spinal-stenosis/cervical-foraminal-stenosis (last visited Feb. 28, 2025).


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shocks” in his lower back after the accident. (Doc. 6-13, p. 4). Mr. Jones told Dr.

Dallas Wilcox at Doctor’s Care that neck pain before the car accident caused left-

sided numbness; after the accident, he had “pain along his spine as well as his neck.”

(Doc. 6-19, p. 45). A February 2012 cervical MRI showed “small central herniation”

at C7-T1, a “small to modest sized left paracentral herniation” at C5-6; “moderate

disc bulging and osteophyte” at C4-5; and “modest disc bulging” at C3-4. (Doc. 6-

18, p. 69; Doc. 6-19, p. 81). 20 A February 2012 lumbar spine MRI without contrast

showed a “moderate-sized right paracentral herniation impinging on the thecal sac

and the right S1 nerve root” and “modest degenerative facet changes” at L5-S1.

(Doc. 6-18, p. 70; Doc. 6-19, p. 80).21

     Mr. Jones consistently reported neck and back pain at 10/10 in 2012 and

between 8/10 and 10/10 in 2013. (Doc. 6-15, pp. 34-35; Doc. 6-17, p. 171; Doc. 6-


20
   “A herniated disk occurs when some of the nucleus pushes out through a tear in the annulus. A
herniated disk is sometimes called a slipped disk or a ruptured disk. . . . If your herniated disk is
in your lower back, you'll typically feel pain in your lower back, buttocks, thigh[,] and calf. You
might have pain in part of your foot as well. For a herniated disk in your neck, you'll typically feel
the most pain in your shoulder and arm. This pain might shoot into your arm or leg when you
cough, sneeze[,] or move into certain positions. Pain is often described as sharp or burning. . . .
People who have herniated disks often have radiating numbness or tingling in the body part served
by the affected nerves.”          See https://www.mayoclinic.org/diseases-conditions/herniated-
disk/symptoms-causes/syc-20354095 (last visited Feb. 28, 2025).
21
   On April 2, 2012, Dr. Brockington noted that a January 2012 lumbar and cervical spine MRI
showed “multilevel disc bulging particularly at the C3-4 level, with some contact of the anterior
aspect of the spinal cord, but no adjacent cord signal changes,” and “fairly prominent disc
herniation at the L5-S 1 level, with some abutment and displacement of the nerve roots.” (Doc. 6-
17, p. 190). The Court could not find a radiology report for a January 2012 MRI. Dr. Brockington
may have been referring to the February 2012 MRI.


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18, pp. 75, 91, 100, 106, 107, 116, 143). Mr. Jones’s diagnoses included chronic

back and neck pain, lumbar and cervical radiculopathy, chronic pain syndrome,

muscle spasms, and sciatica. (Doc. 6-17, pp. 49, 64, 99, 106, 163, 173, 188, 191;

Doc. 6-18, pp. 76, 118, 168; Doc. 6-19, pp. 18, 21, 25, 31, 37, 41). In October 2012,

Dr. Dallas Wilcox at Doctor’s Care referred Mr. Jones to pain management. (Doc.

6-19, p. 22). Doctors prescribed Lortab, tramadol, meloxicam, Aleve, tizanidine,

Lyrica, and Neurontin. (Doc. 6-17, pp. 9, 19, 30, 48, 50, 51, 164, 171, 172, 180;

Doc. 6-18, pp. 88, 102, 122, 138, 140, 168; Doc. 6-19, pp. 17, 20, 22, 23, 26, 28, 32,

35, 39, 42, 47).22 At a January 9, 2013 visit with Dr. Roger Buck at Doctor’s Care,




22
   Lortab is a combination of hydrocodone and acetaminophen used to “relieve pain severe enough
to require opioid treatment and when other pain medicines did not work well enough or cannot be
tolerated.”            See     https://www.mayoclinic.org/drugs-supplements/hydrocodone-and-
acetaminophen-oral-route/description/drg-20074089 (last visited Feb. 28,2 2025).

“Tramadol is used to relieve moderate to moderately severe pain, including pain after surgery. It
is also used to treat pain severe enough to require opioid treatment and when other pain medicines
did not work well enough or cannot be tolerated. The extended-release capsules or tablets are used
for chronic ongoing pain.” See https://www.mayoclinic.org/drugs-supplements/tramadol-oral-
route/description/drg-20068050 (last visited Feb. 28, 2025).

“Meloxicam is a nonsteroidal anti-inflammatory drug . . . used to relieve the symptoms of
arthritis,” such as “inflammation, swelling, stiffness, and joint pain.”                See
https://www.mayoclinic.org/drugs-supplements/meloxicam-oral-route/description/drg-20066928
(last visited Feb. 28, 2025).      Aleve also relieves the symptoms of arthritis.       See
https://www.mayoclinic.org/drugs-supplements/naproxen-oral-route/description/drg-20069820
(last visited Feb. 28, 2025).

Tizanidine is a muscle relaxer used to treat muscle spasms.                                     See
https://my.clevelandclinic.org/health/drugs/20343-tizanidine-capsules-or-tablets (last visited Feb.
28, 2025).


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Mr. Jones reported that he was “awaiting court to get his neck operated on” and that

he could not take Neurontin or Lyrica. (Doc. 6-19, p. 14). A March 8, 2013 cervical

spine MRI showed a diffuse disc, mild spinal stenosis, and minimal left neural

foraminal stenosis at C3-4; “mild uncovertebral spurring” and mild neural foraminal

stenosis on the left at C4-5; and “uncovertebral spurring on the left” and “moderate

left neural foraminal stenosis” at C6-7. (Doc. 6-17, p. 187). A March 22, 2013

lumbar spine MRI showed disc degeneration with “reduced T2 signal,” central

posterior annular disc fissure, “minimal disc bulge and facet DJD” at L5-S1; mild

degenerative changes without significant spinal canal or neuroforaminal stenosis;

and no nerve root compression. (Doc. 6-17, p. 178).23 Mr. Jones had lumbar

epidural steroid injections on April 2, 2013 and May 3, 2013 with no relief. (Doc.

6-14, pp. 9-10; Doc. 6-17, pp. 112, 164-167, 174-176).

     On May 9, 2013, Mr. Jones was admitted to Gadsden Regional Medical Center

for back, leg, and arm pain that he rated at 10/10. (Doc. 6-17, pp. 9, 12). He received




Lyrica is sued to treat “pain caused by nerve damage from diabetes or a spinal cord injury.” See
https://www.mayoclinic.org/drugs-supplements/pregabalin-oral-route/description/drg-20067411
(last visited Feb. 28, 2025).
23
   “An annular tear is a fissure or crack on the annulus fibrosis, the thick outer layer of a vertebral
disc. This condition can eventually lead to a herniated disc when the gel inside the disc starts to
leak out through the disc wall. Although there are many causes for this condition, the most
common one is the deterioration of the spine that naturally occurs with age.” See
https://www.bonati.com/conditions/annular-tear/ (last visited Feb. 28, 2025).


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IV Toradol and Dilaudid for pain. (Doc. 6-17, p. 11). 24 On May 20, 2013, Mr. Jones

saw neurologist Dr. John Brockington at UAB and complained of severe back pain

radiating down both legs. (Doc. 6-17, p. 158). Mr. Jones reported bladder and bowel

dysfunction, decreased sensation, and a disturbed gait. (Doc. 6-17, p. 158). Mr.

Jones reported that movement, standing, and walking aggravated his pain;

medication and rest relieved pain. (Doc. 6-17, p. 158). Mr. Jones had normal range

of motion, sensation, and strength. (Doc. 6-17, p. 159). Dr. Brockington prescribed

Relafen and baclofen, discontinued Lortab, and ordered a lumbar spine MRI. (Doc.

6-17, p. 160).25

     A June 3, 2013 MRI of Mr. Jones’s lumbar spine showed multilevel

degenerative disc disease; disc, circumferential disc bulge, and “Schmorl node

involving the superior endplate of L3” at L2-3; circumferential disc bulge “abutting

the anteroinferior aspect of the nerve roots” at L3-4; and circumferential disc bulge

with “central dis[c] protrusion and annular tear and moderate bilateral neural


24
   Dilaudid is used to “relieve pain severe enough to require opioid treatment and when other pain
medicines did not work well enough or cannot be tolerated.”                                    See
https://www.mayoclinic.org/drugs-supplements/hydromorphone-oral-route/description/drg-
20074171 (last visited Feb. 28, 2025).
25
    Relafen is an anti-inflammatory drug used to treat “mild to moderate pain and help relieve
symptoms of arthritis,” such as “inflammation, swelling, stiffness, and joint pain.” See
https://www.mayoclinic.org/drugs-supplements/nabumetone-oral-route/description/drg-
20069686 (last visited Feb. 28, 2025).

Baclofen is a muscle relaxer used to treat muscle spasms. See https://www.mayoclinic.org/drugs-
supplements/baclofen-oral-route/description/drg-20067995 (last visited Feb. 28, 2025).


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foramen stenosis with dis[c] abutting the L5 exiting roots” at L5-S1 that was slightly

worse than the previous MRI. (Doc. 6-17, p. 156; Doc. 6-19, p. 78).26

     On July 30, 2013, Mr. Jones saw PA Maria Gonzalez at Gadsden Regional

Medical Center emergency department for pain in his lower back, neck, legs, and

arms. (Doc. 6-17, p. 6). Mr. Jones’s physical examination was normal. (Doc. 6-17,

p. 7). PA Gonzalez diagnosed acute sciatica and chronic lower back pain and

ordered an injection of Demerol, Phenergan, and Norflex. (Doc. 6-17, pp. 7-8).27

     On August 14, 2013, Mr. Jones saw neurologist Dr. Mark Hadley at UAB.

(Doc. 6-17, p. 151). Mr. Jones reported severe pain in his neck, lower back, and left

leg that he rated at 9/10. (Doc. 6-17, pp. 151, 153). Mr. Jones stated that the pain

in his neck radiated down his left arm and caused burning and numbness in his left

index finger and that he had minor numbness around his penis and rectal area. (Doc.

6-17, p. 151). Mr. Jones stated that he was “angry because two prior neurosurgeons

‘shut the door’ on his face when he met with them” and because “no one [could]



26
   “Schmorl’s nodes are a type of herniated disk that can affect the spine. They occur when tissue
inside the disks slips out and pushes up or down into adjacent vertebrae. They are not cancerous
and usually cause no symptoms. . . . However, if someone experiences pain or mobility issues due
to a Schmorl’s node, doctors may recommend conservative treatment with pain-relieving
medications and rest.” See https://www.medicalnewstoday.com/articles/schmorl-nodes (last
visited Feb. 28, 2025).
27
        A Demerol and Phenergan injection is used to treat severe pain.                   See
https://www.mayoclinic.org/drugs-supplements/meperidine-and-promethazine-injection-
route/description/drg-20562556 (last visited Feb. 28, 2025). Norflex is a muscle relaxer. See
https://www.mayoclinic.org/drugs-supplements/orphenadrine-oral-route/description/drg-
20065214 (last visited Feb. 28, 2025).
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solve his problems ongoing [] for 2 years.” (Doc. 6-17, p. 151). He had slow range

of motion in his neck, a positive Spurling test on the left side, 4/5 strength in his left

arm, weakness in his left hand, normal sensation to light touch, and an antalgic gait

on the left side. (Doc. 6-17, p. 154). 28

     Dr. Hadley noted Mr. Jones’s cervical MRI results and stated that he believed

that “Mr. Jones ha[d] had an injury as stated” that “best fits with a root stretch,

avulsion injury affecting his left upper extremity/hand, C8 primarily, with the

potential of a modest left lateral spinal cord injury resulting in sensory deficits [in

his] left distal arm, torso[,] and leg.” (Doc. 6-17, p. 154). Dr. Hadley wrote that he

did not “identify much on [Mr. Jones’s] cervical MRI but potentially a C8 root

avulsion injury, incomplete,” that an EMG/NCV study was needed, and that he did

not have a “surgical solution for Mr. Jones.” (Doc. 6-17, p. 154). Dr. Hadley wrote

that because Mr. Jones was “so angry, demanding, accusatory[,] and recalcitrant

(justified or not),” Dr. Handley would not “provide further assessment or evaluation”

of Mr. Jones and discharged him from the clinic. (Doc. 6-17, p. 155).




28
   “The Spurling Test is designed to reproduce symptoms by compression of the affected nerve
root. The cervical extension is used to induce/reproduce posterior bulging of the intervertebral
disk. Rotation of the head causes narrowing of the neuroforamina in the cervical spine. Finally,
axial compression is applied to amplify these effects with the aim of exaggerating the preexisting
nerve root compression.” “The test is considered positive when radicular pain is reproduced (pain
radiates to the shoulder or upper extremity ipsilateral to the direction of head rotation).” See
https://www.ncbi.nlm.nih.gov/books/NBK493152/ (last visited Feb. 28, 2025).
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     On August 15, 2013, Mr. Jones saw Dr. Dallas Wilcox at Doctors’ Care and

complained of throbbing pain in his left leg for two weeks. (Doc. 6-19, p. 6). Mr.

Jones’s medications included baclofen, Lortab, and meloxicam. (Doc. 6-19, p. 6).

He had 4/5 motor strength in both hands and limited “cerebellar function.” (Doc. 6-

19, p. 6). Dr. Wilcox referred Mr. Jones to a neurologist for left arm and leg

numbness and ordered a brain MRI for left sided numbness and loss of motor

strength. (Doc. 6-19, p. 8). The MRI of Mr. Jones’s brain was normal. (Doc. 6-17,

p. 2).

     On August 19, 2013, Mr. Jones saw Dr. Ashlee Fulmer at the UAB pain clinic

and complained of back, neck, and buttock pain that he rated at 10/10 and numbness

and swelling in his legs and buttocks. (Doc. 6-17, pp. 144, 145). Mr. Jones reported

that Lortab helped but did not alleviate his pain, tramadol did not help his pain, and

baclofen helped his spasms. He stated that his swelling became worse when he

stopped taking meloxicam. (Doc. 6-17, p. 144). Mr. Jones had 4/5 strength on his

left side, decreased sensation in his left arm and leg “in a non-dermatomal

distribution,” and left sided pain with a straight leg test. (Doc. 6-17, p. 147). Dr.

Fulmer diagnosed cervicalgia, cervical root lesion, and lumbar radiculopathy. (Doc.

6-17, p. 147). 29 Dr. Fulmer noted that Mr. Jones needed medication management


29
    “Lesions of the cervical and lumbar nerve roots are common. These proximal lesions may
involve motor and sensory nerve fibers to varying degrees. The initial symptoms of root lesions
are nearly always sensory, consisting of paraesthesias and dysesthesias in a radicular distribution.
                                                28
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for his pain and refilled Lortab and baclofen. (Doc. 6-17, p. 147). Dr. Fulmer

ordered an EMG/NCS study to evaluate for a “potential C8 root avulsion injury” and

referred him to neuropsychologist Dr. Weisberg. (Doc. 6-17, p. 147).

     On September 10, 2013, Mr. Jones saw Dr. Terry Andrade and reported neck

and back pain and numbness in his left arm and leg. (Doc. 6-20, p. 2). He rated his

neck pain at 9/10 and his back pain at 10/10. (Doc. 6-20, p. 2). A September 13,

2013 lumbar and cervical myelogram showed spondylosis “appearing more at

cervical levels compared to lumber levels”; “degenerative disc disease with epidural

defects”; degenerative disc thinning, “possible disc bulge and question of

herniation,” and “narrowing for the AP effected spinal canal diameter” at C3-4;

minimal-to-mild “evidence of posterior disc bulge” and “chronic disc thinning” at

L5-S1; and possible slight disc bulge at L4-5. (Doc. 6-12, pp. 131-132; Doc. 6-20,

pp. 65-66). Cervical and lumbar CT scans on September 13, 2013 showed “mild

posterior symmetrical disc bulge along with thickening of the ligamenta flava

narrowing the AP effective spinal canal diameter to a moderately pronounced to

marked degree, including mild spinal cord flattening, suggesting impingement” at



These sensory symptoms are often related to particular postures or activities. Radicular pain may
be a major feature. . . . The roots most commonly affected by entrapment are those leaving the
spinal cord at points where spinal movement is greatest, especially at the C5, C6, C7 and C8 levels
in the arm, and at the L4, L5 and 51 levels in the leg.”                                       See
https://link.springer.com/chapter/10.1007/978-1-4471-3834-
1_9#:~:text=Lesions%20of%20the%20cervical%20and,dysaesthesias%20in%20a%20radicular
%20distribution (last visited Feb. 28, 2025).
                                                29
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C3-4; posterior disk bulge with endplate spurring and moderate narrowing of the

“effective spinal canal” with “possible slight flattening of the left aspect of the spinal

cord” at C4-5; limited posterior disk bulge, thickening of the ligamenta flava, and

moderating narrowing of the effective spinal canal at C5-6 and C6-7; no significant

spinal stenosis at T11-12 to L4-5; minimal disk herniation and “[l]imited associated

asymmetry for the nerve root sleeves and thecal sac, with question of nerve root

compression” at L5-S1. (Doc. 6-12, pp. 133-136; Doc. 6-20, pp. 69-72).

     Mr. Jones saw Dr. Alethia Sellers at UAB pain clinic on September 16, 2013

and complained of back, neck, arm, and leg pain that he rated at 10/10. (Doc. 6-17,

pp. 132-133, 135).30 Mr. Jones reported no relief from prior epidural steroid

injections. (Doc. 6-17, p. 132). Dr. Sellers noted the results of the myelogram.

(Doc. 6-17, p. 132). Mr. Jones had an antalgic gate, pain with range of motion in his

cervical and lumbar spine, decreased sensation in his “left C5-6 distribution,” and

5/5 strength. (Doc. 6-17, pp. 135-136). Dr. Sellers increased the baclofen dosage,

prescribed Norco to replace Lortab, prescribed Effexor, and recommended Aleve in

place of meloxicam. (Doc. 6-16, p. 136).

     At a visit with neurosurgeon Dr. Terry Andrade on September 17, 2013, Mr.

Jones rated his back pain at 10/10 and his neck pain at 9/10 and complained of



30
    Medical student Benjamin Robers recorded the September 19, 2013 medical notes in the
presence of Dr. Sellers. (Doc. 6-17, p. 132).
                                           30
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numbness and tingling in his legs. (Doc. 6-20, pp. 27-28, 47). On September 26,

2013, Dr. Michael Morris conducted an EMG and nerve conduction examination on

Mr. Jones’s left arm and leg. (Doc. 6-16, pp. 107-109). All sensory and motor nerve

conductions on Mr. Jones’s left side were normal. (Doc. 6-16, p. 107; Doc. 6-20,

pp. 44-46).

     On October 22, 2013, Mr. Jones was involved in a car accident and saw Dr.

Hosam Tarakji at Riverview Regional Medical Center. (Doc. 6-19, pp. 134, 138).

Mr. Jones complained of back, neck, and left leg and arm pain. (Doc. 6-19, p. 134).

Dr. Tarakji noted that Mr. Jones’s neck was “[p]ositive for injury or acute

deformity.” (Doc. 6-19, p. 139). A cervical spine x-ray showed “[m]ild multilevel

cervical spondylosis.” (Doc. 6-19, p. 145). Dr. Tarakji diagnosed cervical sprain

and prescribed Naprosyn, Robaxin, and tramadol. (Doc. 6-19, pp. 134, 137, 150).31

     After his October car accident, Mr. Jones saw chiropractic doctor Royce Jones

on October 14, 24, 28, 30, and 31 and November 4, 2013 for headaches and severe

pain in his neck; back; right knee, foot[,] and ankle; and left shoulder, hip, leg, and

hand. (Doc. 6-13, pp. 2-26). Mr. Jones rated his pain at 9/10 to 10/10. (Doc. 6-13,

pp. 17, 23-25). Mr. Jones reported that his neck and back pain interfered with his


31
   Naprosyn is an anti-inflammatory used to treat arthritis. See https://www.mayoclinic.org/drugs-
supplements/naproxen-oral-route/description/drg-20069820 (last visited Feb. 28, 2025). Robaxin
is used to” relieve the discomfort caused by acute (short-term), painful muscle or bone conditions.”
See https://www.mayoclinic.org/drugs-supplements/methocarbamol-oral-route/description/drg-
20071962 (last visited Feb. 28, 2025).


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daily activities, sleep, and ability to work 82 to 86% of the time. (Doc. 6-13, pp. 21-

22).32 Mr. Jones had moderate to severe restriction in flexion and rotation, muscle

spasms, and tenderness in his cervical and lumbar spine. (Doc. 6-13, pp. 6-7, 9-10).

Dr. Jones’s clinical impressions included cervical and lumbar radiculitis and

sprains/strains. (Doc. 6-13, pp. 7-8, 10-11). X-rays taken on October 24, 2013

showed moderate disc space narrowing at C3-4 and C6-7; instability with stress

during flexion at C2-3 and C4-5; degenerative osteoarthritis over anterior and

posterior portions of C3, C6, and posterior portion of C4, C5, and C7; disc space

narrowing at T12-L1; moderate disc space narrowing at L5-S1; and “mild

compression body of L1 of undetermined age.”                (Doc. 6-13, pp. 12-13).       A

November 8, 2013 MRI of Mr. Jones’s cervical spine showed a “tiny left paracentral

annulus tear” at C2-3; “disc osteophyte complex” causing “mild flattening of the left

anterior cord” and mild focal spinal stenosis at C3-4; “uncovertebral spurring”

causing “slight left bony foraminal encroachment” at C4-5; and “moderate to severe

bilateral bony foraminal narrowing” at C6-7.            (Doc. 6-13, p. 32). Dr. Jones

recommended 12 to 18 chiropractic visits, manual traction, interferential stimulation,

and three epidural injections if Mr. Jones did not respond well to treatment. (Doc.




32
   Dr. Jones noted on October 30, 2013 that Mr. Jones was a full-time employee who worked 10
hours a day six days a week; that Mr. Jones had worked one month; and that his complaints did
not “affect [his] hours worked.” (Doc. 6-13, p. 19).
                                             32
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6-13, pp. 8, 11). Mr. Jones did not return to Dr. Jones after the November 4, 2013

visit. (Doc. 6-13, p. 28).

     At a visit with Dr. Muhammad Tariq at Quality of Life on November 19, 2013,

Mr. Jones complained of chronic back and neck pain. (Doc. 6-15, p. 16). Mr. Jones

had muscle spasms in his lumbar spine. (Doc. 6-15, p. 18). Dr. Tariq diagnosed

chronic lumbago and chronic pain syndrome and referred Mr. Jones to pain

management. (Doc. 6-15, pp. 18-19). Mr. Jones complained of neck pain at a

January 7, 2014 visit, and Dr. Tariq noted the 2013 MRI that showed “mild to

moderate cervical foraminal stenosis” at C6-7. (Doc. 6-15, p. 20). Mr. Jones had

muscle spasms and mildly reduced range of motion in his cervical and lumbar spine.

(Doc. 6-15, p. 22). His medications included Flexeril, Lyrica, tramadol, Valium,

and Effexor. (Doc. 6-15, p. 22). 33

     On September 10, 2014, Mr. Jones saw CRNP Amy Kennedy at UAB and

reported severe neck pain and numbness in his left hand. (Doc. 6-17, p. 129). Mr.

Jones rated his pain at 9/10. (Doc. 6-17, p. 129). Mr. Jones stated that he could sit

for 45 minutes, stand for 30 minutes, and walk for 10 minutes. (Doc. 6-17, p. 130).

He had tenderness in his cervical and lumbar spine, a positive Spurling test, and 4/5




33
       Flexeril is a muscle relaxer.                 See https://www.mayoclinic.org/drugs-
supplements/cyclobenzaprine-oral-route/description/drg-20063236 (last visited Feb. 28, 2025).
                                             33
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strength in his biceps and triceps. (Doc. 6-17, p. 131). CRNP Kennedy ordered a

cervical spine MRI. (Doc. 6-17, p. 131).

    On October 7, 2014, Mr. Jones saw CRNP Kennedy and complained of lower

back and neck pain that he rated at 10/10. (Doc. 6-14, p. 103). Mr. Jones reported

that his neck was difficult to hold up and that physical therapy made his pain worse.

(Doc. 6-14, p. 103). Mr. Jones had reduced range of motion with pain in his cervical

spine and tenderness in his cervical and lumbar spine. (Doc. 6-14, p. 105). CRNP

Kennedy discussed with Mr. Jones a September 19, 2014 MRI that showed “left-

sided disc protrusion and mild left neural foramen narrowing due to uncovertebral

joint DJD” at C4-5; mild broad-based central disc bulge without spinal cord or

definite nerve root compression” at C6-7; and “left-sided degenerative abnormalities

[at] both C3-4 and C4-5.” (Doc. 6-14, p. 106; Doc. 6-17, p. 127). CRNP Kennedy

diagnosed cervicalgia, degeneration of the cervical intervertebral disc, cervical

radiculopathy, lumbago, and degeneration of the lumbosacral disc. (Doc. 6-14, p.

106). CRNP Kennedy prescribed naproxen and recommended pain management

and a cervical epidural steroid joint injection. (Doc. 6-14, p. 106). Mr. Jones had

an epidural injection on December 11, 2014. (Doc. 6-14, pp. 107-110). His post-

procedure diagnosis included degeneration of the cervical intervertebral disc and

cervical radiculopathy. (Doc. 6-14, p. 109).




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     A January 14, 2015 lumbar spine MRI without contrast showed “degenerative

endplate disease” at L1-2, L2-2, and L5-S1; “stable moderate disc bulge with disc

desiccation and a right paracentral annular tear” at L5-S1; “slight narrowing of the

right lateral recess encroaching upon the descending right S1 nerve root” at L5-S1;

and “moderate bilateral facet arthropathy resulting in moderate neural foraminal []

narrowing with encroachment upon the exiting L5 nerve roots” with “no definite

nerve root [] compression or significant spinal canal stenosis.” (Doc. 6-14, pp. 14-

15, 114).

     On January 26, 2015, Mr. Jones saw CRNP Linda Morris at the Gadsden

Regional Medical Center emergency department and complained of chronic neck

and back pain. (Doc. 6-19, pp. 93-97). He had moderate lumbar tenderness. (Doc.

6-19, p. 96). At a visit with Dr. Chloe Jenkins at UAB pain clinic on January 30,

2015, Mr. Jones complained of neck, shoulder, and back pain and numbness in his

legs. (Doc. 6-14, pp. 111, 115). He rated his pain at 9/10, indicated that the epidural

injection did not provide relief, and stated that “nothing ma[de] his pain better.”

(Doc. 6-14, pp. 111, 114). Dr. Jenkins prescribed Neurontin, baclofen, meloxicam,

and a TPS compounded cream for his back; referred Mr. Jones to neurology for a

nerve conduction study; and indicated that she would consider prescribing




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amitriptyline and an epidural steroid injection or a medical branch block if

medications did not relieve his pain. (Doc. 6-14, p. 115). 34

     Mr. Jones saw Dr. Rayelle Nokovich at the UAB Highlands emergency

department on March 9, 2015 for neck and left leg pain and left arm numbness and

weakness. (Doc. 6-14, p. 139). Mr. Jones had deceased range of motion on his left

side secondary to pain and 4/5 strength in his left leg. (Doc. 6-14, pp. 139-140). Dr.

Nokovich diagnosed cervical radiculopathy. (Doc. 6-14, p. 140). 35

     On May 4, 2015, Mr. Jones saw CRNP Linda Morris at the Gadsden Regional

Medical Center emergency department and complained of chronic, severe lower

back and left leg pain. (Doc. 6-19, pp. 63-67). He had tenderness in his lumbar

spine. (Doc. 6-19, p. 67). CRNP Morris diagnosed acute left lumbar radiculopathy.

(Doc. 6-19, p. 67). CRNP Morris prescribed Flexeril, Norco, and ibuprofen. (Doc.

6-19, p. 67). On May 18, 2015, Mr. Jones returned to the emergency department


34
  “Amitriptyline is used to treat the symptoms of depression.”                                     See
https://www.mayoclinic.org/drugs-supplements/amitriptyline-oral-route/description/drg-
20072061 (last visited Mar. 6, 2025).

A diagnostic medical branch block is a test to find the cause of neck and back pain. “During the
test, a doctor will inject a numbing medication around the nerve that supplies [the] facet joints.
These are the joints in [the] spine that allow you to bend and twist your neck and back. The amount
of pain relief [] after the injection will help [] determine the cause of [] pain and how to treat it.”
See                                          https://www.brownhealth.org/sites/default/files/lifespan-
files/documents/centers/comprehensive-spine-center/Diagnostic-Medial-Branch-Blocks.pdf (last
visited Feb. 28, 2025).
35
   The record contains a nurse’s note and medical screening form from DeKalb County Sheriff’s
Office dated March 21, 2015, indicating that Mr. Jones was incarcerated on that date. (Doc. 6-16,
pp. 30-31).
                                                  36
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and complained of left leg, hip, and back pain. (Doc. 6-19, pp. 58-62). Mr. Jones

had tenderness in his back, a positive straight leg test, and normal range of motion.

(Doc. 6-19, p. 61). PA Misti Lipscomb prescribed Toradol, Robaxin, and Medrol.

(Doc. 6-19, p. 62).

    At a visit with Dr. James Bailey at the UAB neurology pain clinic on May 19,

2015, Mr. Jones complained of neck and back pain that he rated at 9/10. (Doc. 6-

14, pp. 121-123). Mr. Jones had 5/5 motor strength, intact sensation, normal

reflexes, full range of motion, and an antalgic gait. (Doc. 6-24, p. 124). He had

difficulty with heel-toe and tandem walking. (Doc. 6-14, p. 124). His mental status

exam was normal. (Doc. 6-14, p. 124). Dr. Bailey wrote that he did not “think [Mr.

Jones’s] relatively minor abnormalities seen on [the] MRI explain[ed] his back/leg

problems” because his examination was “essentially normal.” (Doc. 6-14, p. 125).

Dr. Bailey agreed that Mr. Jones needed “facet blocks,” Neurontin, and baclofen and

noted that he did not “have additional suggestions to offer in [Mr. Jones’s]

treatment.” (Doc. 6-14, p. 125).

    On June 26, 2015, Mr. Jones saw neurologist Dr. John Brockington at UAB and

reported severe back pain that radiated down his left leg and moderate neck pain that

radiated to his left arm. (Doc. 6-19, p. 54). Mr. Jones stated that movement,

prolonged sitting and walking, and changing positions aggravated his pain, and

medications and rest helped his pain. (Doc. 6-19, p. 54). He had decreased range of


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motion in his neck, normal strength, no tenderness or swelling in his musculoskeletal

system, and a normal gait.              (Doc. 6-19, p. 56).           Dr. Brockington diagnosed

cervicalgia and “possible dystonia related disorder.” (Doc. 6-19, p. 56). 36 Dr.

Brockington agreed with Dr. Hadley’s assessment that Mr. Jones was not a surgical

candidate but might have a “nerve root avulsion injury and/or cord injury” for which

there was no other treatment except “long term pain management.” (Doc. 6-19, p.

56). Dr. Brockington gave Mr. Jones a trial of Lamotrigine. (Doc. 6-19, p. 56).37

      On July 16, 2015, Mr. Jones saw Dr. Tariq and complained of left leg and neck

pain that he rated at 8/10. (Doc. 6-15, pp. 36, 39). Dr. Tariq ordered a cervical and

lumbar MRI. (Doc. 6-15, pp. 38-39). A July 22, 2015 MRI of Mr. Jones’s lumbar

spine without contrast showed “[d]isc osteophyte complex [] with a right paracentral

annular fissure,” mild facet arthropathy, and mild bilateral neuroforaminal stenosis

with “[n]o discreet nerve root impingement” at L5-S1; disc desiccation throughout

the lumbar spine with mild degenerative changes; no disc herniations at any level;

and no “significant central spinal canal stenosis or nerve root impingement” at any



36
    “Dystonia is a common movement disorder, involving sustained muscle contractions, often
resulting in twisting and repetitive movements and abnormal postures.”                 See
https://pmc.ncbi.nlm.nih.gov/articles/PMC7894256/ (last visited Feb. 28, 2025).
37
    “Lamotrigine is used alone or together with other medicines to help control certain types of
seizures . . . in the treatment of epilepsy. . . . It can also be used in the treatment of bipolar disorder
(manic-depressive         illness)   in    adults.”            See    https://www.mayoclinic.org/drugs-
supplements/lamotrigine-oral-route/description/drg-20067449 (last visited Feb. 28, 2025).


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level. (Doc. 6-15, p. 104). A cervical spine MRI without contrast showed “[n]o disc

herniations or evidence of spinal cord impingement” at any level; mild “multilevel

degenerative changes and spondylosis” at C3-4 and C6-7; “[m]ild grade 1 interior

listhesis” at T1-2; mild to moderate bilateral neuroforaminal stenosis at C2-3 and

C3-4; and moderate bilateral neuroforaminal stenosis at C6-7. (Doc. 6-15, p. 105).

     At an August 4, 2015 visit, Dr. Tariq noted that an MRI showed spondylosis

and referred Mr. Jones to pain management. (Doc. 6-15, p. 43) Mr. Jones reported

to Dr. Tariq on August 13, 2015 that he had neck and back pain that he rated at 8/10.

(Doc. 6-15, p. 46). Dr. Tariq explained that the MRI did not show cervical or lumbar

disc herniation, but Mr. Jones insisted on a neurosurgery referral. (Doc. 6-15, p. 46).

     On August 18 and 25 and September 10 and 17, 2015, Mr. Jones saw

neurosurgeon Dr. Terry Andrade and complained of chronic back, neck, and left leg

pain. (Doc. 6-20, pp. 5-21). A September 9, 2015 cervical spine CT scan showed

“osteophytic bars with moderate neural foraminal and central canal stenosis” at C3-

4, C4-5, and C5-6. (Doc. 6-20, p. 5). A September 9, 2015 lumbar spine CT scan

and myelogram were “normal.” (Doc. 6-20, p. 5). Dr. Andrade’s impressions

included cervical spondylosis without myelopathy, cervical and lumbar spinal

stenosis, cervicalgia, lumbago, sciatica, and brachial and lumbosacral neuritis or

radiculitis. (Doc. 6-20, pp. 9, 16). Mr. Jones’s medications included Norco and




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meloxicam. (Doc. 6-20, p. 18). Dr. Andrade wrote: “No SURGICAL problem

identified.” (Doc. 6-20, p. 21).

    Mr. Jones returned to the Gadsden Regional Medical Center emergency

department on September 11, 2015 and complained of back and left leg pain. (Doc.

6-15, pp. 94, 97). He had normal range of motion in his musculoskeletal system and

swelling in his left leg. (Doc. 6-15, p. 97). Mr. Jones did not want x-rays but

requested pain medication until he could see his doctor. (Doc. 6-15, p. 98). CRNP

Brandi Malsy prescribed 12 Norco tablets. (Doc. 6-15, p. 98).

    At a January 4, 2016 visit with Dr. Tariq, Mr. Jones reported neck and back

pain that he rated at 8/10. (Doc. 6-15, pp. 51, 55). Mr. Jones stated (incorrectly)

that Dr. Andrade told him that “he had disc issues” in his neck and back and

“need[ed] surgery,” but Dr. Andrade could not perform surgery because of Mr.

Jones’s insurance “issues.” (Doc. 6-15, p. 51). Mr. Jones indicated that he had an

appointment at UAB neurosurgery in April 2016 and had been referred to pain

management. (Doc. 6-15, p. 51). On January 9, 2016, Mr. Jones saw CRNP Lisa

Gilbreath and PA Misti Lipscomb at Gadsden Regional Medical Center emergency

department for lower back pain radiating to and causing numbness and tingling in

his right leg. (Doc. 6-15, pp. 82, 85). Mr. Jones stated that his pain “usually sho[t]

down his left leg.” (Doc. 6-15, p. 85). Mr. Jones reported that Dr. Andrade told him

that he had a bulging disc in his neck and back and possibly needed surgery. (Doc.


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6-15, p. 85). Mr. Jones had normal range of motion, mild tenderness to palpation,

and “mild” muscle spasms. (Doc. 6-15, p. 86). He was prescribed 15 Norco tablets

and Flexeril. (Doc. 6-15, p. 87).

       On April 6, 2016, Mr. Jones saw Dr. William Meador at UAB Health Centers

and complained of muscle spasms and moderate to severe back pain that radiated

into his buttocks and left leg. (Doc. 6-14, pp. 74-75). He rated his pain at 8/10.

(Doc. 6-14, p. 76). Mr. Jones reported that meloxicam and Lyrica had helped in the

past, Neurontin did not help, and past epidural injections helped “a fair amount.”

(Doc. 6-14, p. 74). Dr. Meador noted that Dr. Hadley did not consider Mr. Jones a

“surgical candidate” but opined that Mr. Jones might “have had a nerve root avulsion

injury and/or cord injury” and that there might “not be any treatment other than long

term pain management” for his cervicalgia. (Doc. 6-14, p. 74). Dr. Meador

prescribed Lyrica and tizanidine, and referred Mr. Jones for pain management.

(Doc. 6-14, p. 77).

     At a visit with Dr. Meador on September 7, 2016, Mr. Jones reported constant,

severe pain in his neck and left arm and difficulty holding his neck up on the left

side. (Doc. 6-14, p. 25). He rated his pain at 7/10. (Doc. 6-14, p. 27). Mr. Jones

stated that he had to hold his head up with his hands because of pain and “laying

face down with his head draped over a pillow” helped his pain. (Doc. 6-14, p. 25).

Mr. Jones indicated that he did not restart Lyrica after the last visit and that tizanidine


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helped less than Robaxin. (Doc. 6-14, p. 25). Mr. Jones had normal muscle strength

and tone, intact sensation, normal reflexes, and mildly impaired coordination and

gait. (Doc. 6-14, p. 28). Dr. Meador noted that Mr. Jones had “been unable to

establish pain [management] for narcotic pain med[ications] due to [M]edicaid

status.” (Doc. 6-14, p. 28). Dr. Meador prescribed Lyrica and meloxicam, referred

Mr. Jones to Dr. Sellers for an epidural pain block, and ordered a cervical spine MRI.

(Doc. 6-14, pp. 28-29). A September 21, 2016 cervical spine MRI showed “left

paramedian/foraminal disc osteophyte complex which mildly abuts and indents the

left ventral cord” slightly worse than his preceding MRI and “moderate left neural

foramen narrowing due to uncovertebral joint DJD.” (Doc. 6-14, pp. 23-24).

       At a visit with Dr. Tariq on September 29, 2016, Mr. Jones reported neck pain

at 7/10. (Doc. 6-15, pp. 111, 114). Mr. Jones had muscle spasms in his cervical

spine. (Doc. 6-15, p. 114). Mr. Jones saw Dr. Meador on November 2, 2016 and

reported pain at 10/10. (Doc. 6-14, pp. 30, 32). Mr. Jones stated that Lyrica did not

help. (Doc. 6-14, p. 30). Dr. Meador noted that Mr. Jones was “politely frustrated”

because he had had pain for six to seven years that was “getting worse, not better.”

(Doc. 6-14, p. 30). Dr. Meador noted that he spent “more than 40 minutes”

explaining to Mr. Jones that “his illness [was] incurable” and that his pain

management options were “limited due to his Medicaid insurance.” (Doc. 6-14, p.

33).    Dr. Meador increased the Lyrica dosage, discontinued meloxicam and


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tramadol, and referred Mr. Jones to Dr. Staner for a “block vs. surgical eval.” (Doc.

6-14, p. 34).

       Mr. Jones saw Dr. Tariq on November 16, 2016 and complained of back and

neck pain that he rated at 10/10. (Doc. 6-15, pp. 62, 68). Mr. Jones reported that

Dr. Meador prescribed Lyrica and was “sending him for neck surgery.” (Doc. 6-15,

p. 62). 38 Mr. Jones requested a neck brace because he misplaced his previous

prescription. (Doc. 6-15, p. 62). Dr. Tariq ordered an MRI of Mr. Jones’s lumbar

spine and administered a Toradol injection. (Doc. 6-15, p. 67).

       On November 18, 2016, Mr. Jones saw Dr. Clement Ayanbadejo at Gadsden

Regional Medical Center emergency department and complained of neck, back, and

left hip pain after a car accident earlier in the day. (Doc. 6-13, p. 91). Mr. Jones

reported that he was scheduled for an MRI of his neck and back that week “in

preparation for his surgery in a few weeks” because of a previous car accident. (Doc

6-13, p. 91). He had tenderness to palpation in his back and left hip. (Doc. 6-13, p.

93). A CT scan of his cervical spine showed “[m]ultilevel degenerative dis[c] space

changes in the cervical spine most pronounced at C4-5 and C6-7.” (Doc. 6-13, p.

79). A lumbar spine CT scan showed “[s]table deformity of the superior endplate of

L1.” (Doc. 6-13, p. 83). A CT scan of his brain and x-rays of his pelvis were normal.

(Doc. 6-13, pp. 85, 87).


38
     Dr. Tariq’s medical note incorrectly referred to Dr. Meador as “Dr. Miller.”
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     Mr. Jones returned to the emergency department on November 21, 2016 and

complained of pain in his chest, neck, back, and left hip and shoulder. (Doc. 6-13,

p. 71). Mr. Jones had decreased range of motion and moderate tenderness in his

back. (Doc. 6-13, p. 73). CRNP Gilbreath noted that Mr. Jones was irate because

he wanted narcotics for pain, that he refused a Toradol injection because Toradol did

not alleviate his pain, and that he stated he would continue to come to the hospital

via ambulance until he “g[ot] what he want[ed].” (Doc. 6-13, p. 73).

     On January 23, 2017, Mr. Jones saw Dr. Thomas Staner, Jr. at UAB’s Greystone

Neurosurgery Clinic and complained of left neck pain that radiated into his left arm

and lower back pain that radiated to his left hip and upper thigh. (Doc. 6-14, p. 18).

Mr. Jones had 5/5 strength, a positive left straight leg test, left shoulder pain with

adduction, and a positive “foraminal occlusion test” on the left. (Doc. 6-14, pp. 20-

21).39 Dr. Staner’s impressions included neural foraminal stenosis of the cervical

spine at C3-4, left shoulder pain, and left lumbar and cervical radiculopathy. (Doc.

6-14, pp. 21-22). At a March 8, 2017 visit, Dr. Staner noted that a CT scan and

myelogram of Mr. Jones’s cervical and lumbar spine showed neural foraminal


39
    A foraminal compression test, also called Sparely’s Maneuver, is a “physical examination
technique which reduces the opening of the foramen which may demonstrate if there is pressure
upon the exiting spinal nerve. The test is done to detect spinal nerve root involvement, a herniated
disc, bulging disc, or foraminal stenosis. The patient is seated with the head and neck in a neutral
position. Pressure is increasingly applied on the head and neck in mild lateral flexion to either
side. A positive result replicates numbness or tingling into a dermatome of the upper extremity.”
See https://www.adlergiersch.com/terms/foraminal-compression-test/ (last visited Feb. 28, 2025).


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stenosis of the cervical spine at left C6-7. (Doc. 6-14, p. 8). Dr. Staner referred Mr.

Jones to orthopedics for a left cervical C6-7 epidural block and “possible [l]eft C6-

7 neural foraminotomy, possible [l]ateral recess decompression [at] left L4-5, and

discectomy [at] left L5-S1.” (Doc. 6-14, p. 8). 40

     Mr. Jones saw Dr. Michael McCarty and CRNP Lisa Gilbreath at Gadsden

Regional Medical Center emergency department on February 11, 2017 and

complained of worsened neck and left shoulder pain after a car accident that

morning. (Doc. 6-13, p. 67). He rated his pain at 10/10. (Doc. 6-13, p. 67). Mr.

Jones reported that he had had a motor vehicle accident three months earlier and was

scheduled for a myelogram and MRI of his neck. (Doc. 6-13, p. 67). Dr. McCarty

diagnosed chronic neck and right shoulder pain and prescribed Flexeril, Norco, and

Toradol. (Doc. 6-13, pp. 69-70).

     At a visit with CRNP Kristen Cravens at UAB on April 18, 2017, Mr. Jones

complained of left shoulder and neck pain that he rated at 10/10. (Doc. 6-14, p. 2).

Mr. Jones had neck pain with range of motion in flexion, extension, and lateral



40
   A foraminotomy is a surgical procedure that “enlarges the area around one of the compressed
nerves in [the] spinal column.” See https://www.hopkinsmedicine.org/health/treatment-tests-and-
therapies/foraminotomy (last visited March 5, 2025).

Disc decompression procedures treat “chronic pain, numbness or weakness that radiates down the
arms or legs [] caused by nerve compression. These procedures create space in the spine to relieve
pressure on the spinal cord or nerves.” A discectomy surgery “creates space in the spine by
removing a damaged part of a dis[c].” See https://www.mayoclinichealthsystem.org/hometown-
health/speaking-of-health/understanding-types-of-back-surgery (last visited March 5, 2025).
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bending. (Doc. 6-14, p. 4). He had positive Hawkins and Speed’s tests and 5/5

strength in his left shoulder. (Doc. 6-14, p. 3). 41 A left shoulder x-ray showed a

3cm “eccentric well-defined” lesion in his “lateral humeralmetaphysis” consistent

with a “nonaggressive[,] nonossifying fibroma” and “mild-to-moderate degenerative

changes at the acromioclavicular joint with an [] osteochondral body seen within the

AC joint space.” (Doc. 6-14, pp. 4-5).42 CRNP Craven’s impressions included

biceps tendonitis, “shoulder impingement,” and “AC joint arthritis.” (Doc. 6-14, p.

4). CRNP Craven prescribed physical therapy and voltaren gel for pain. CRNP

Crave referred Mr. Jones to Dr. Behnke for the fibroma. (Doc. 6-14, p. 4).

     On April 21, 2017, Mr. Jones saw Dr. Johnny Carter and Dr. Cassandra Renfro

at UAB and complained of constant neck pain that radiated to his left hand and back

of his head. (Doc. 6-14, pp. 9, 11). Mr. Jones reported numbness and weakness in

his left hand that caused him to drop things and was worse at night and when he held



41
  “Hawkin’s test is used to detect rotator cuff impingement. . . . A positive test is pain with this
movement.” See https://mskmedicine.com/clinical_skills/hawkins-test/ (last visited Feb. 28,
2025).

“A positive on Speed’s test means that one of a number of complications has occurred in [the]
shoulder,” and “[p]ain is a positive result in terms of this test.” See https://www.webmd.com/pain-
management/what-to-know-speeds-test-yergasons-test (last visited Feb. 28, 2025).
42
   “A fibroma is a noncancerous tissue growth. There are many different types of fibromas,
categorized by their presentations and where they are found on the body. Fibromas can form
anywhere and usually do not require treatment or removal. . . . In most cases, fibromas are not
serious and do not indicate a malignant or cancerous growth. However, in some cases, fibromas
can become debilitating.” See https://resources.healthgrades.com/right-care/symptoms-and-
conditions/fibroma (last visited Mar. 5, 2025).
                                                46
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his son on his left side or stayed in bed too long. (Doc. 6-14, p. 11). Mr. Jones rated

his pain at 10/10. (Doc. 6-14, p. 11). Mr. Jones had decreased cervical range of

motion with flexion and extension, decreased rotation and side bending in his

cervical spine, and a positive Spurling test on the left side. (Doc. 6-14, pp. 12-13).

Dr. Carter’s diagnoses included neural foraminal stenosis of the cervical spine at C4-

5, cervical radiculitis, neck pain, facet arthropathy, and degeneration of the cervical

intervertebral disc. (Doc. 6-14, p. 17). Dr. Carter ordered an updated “EMG/NCS,”

referred Mr. Jones to the pain clinic for two cervical epidural injections, and

prescribed Robaxin. (Doc. 6-14, p. 17). Dr. Carter noted that depending on the

nerve conduction test results and effects of the epidural injections, he would

“consider further evaluation for surgical treatment options.” (Doc. 6-14, p. 17).

     On June 23, 2017, Mr. Jones saw Dr. Luz Crystal at the DeKalb Regional

Medical Center emergency department for moderate right knee pain. (Doc. 6-13, p.

126). He stated that his knee buckled when he stepped out of bed. (Doc. 6-13, p.

126).   He had limited range of motion in his right knee, 5/5 strength in his

extremities, and a normal gait. (Doc. 6-13, p. 126). An x-ray of his right knee was

normal. (Doc. 6-13, p. 129). Dr. Crystal prescribed a knee brace and prescribed a

steroid. (Doc. 6-13, p. 127). At a visit with Dr. Tariq on June 27, 2017, Mr. Jones

complained of severe right knee pain aggravated by walking and standing. (Doc. 6-

15, p. 124). Mr. Jones had tenderness, swelling, and pain with range of motion in


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his right knee. (Doc. 6-15, p. 127). Dr. Tariq prescribed ibuprofen, advised Mr.

Jones to avoid heavy lifting and repetitive motions, and referred him to an orthopedic

surgeon. (Doc. 6-15, p. 128).

    Mr. Jones saw Dr. William Haller, III at Gadsden Orthopaedics Associates on

July 7, 2017 and complained of severe right knee pain from a previous fall. (Doc.

6-13, pp. 103, 105, 108). Mr. Jones had swelling in his legs and feet, joint pain and

swelling, back pain, muscle weakness, and muscle cramps. (Doc. 6-13, p. 105). Dr.

Haller noted that Mr. Jones’s right knee exam was abnormal with pain and

tenderness. (Doc. 6-13, p. 105). An x-ray of Mr. Jones’s right knee was normal.

(Doc. 6-13, p. 106). Dr. Haller prescribed Meloxicam. (Doc. 6-13, pp. 106, 108).

    On July 14, 2017, an ambulance brought Mr. Jones to the DeKalb Regional

Medical Center emergency department after he fainted and became unresponsive

while shopping in a store. (Doc. 6-13, p. 114). Mr. Jones had a headache, confusion,

lightheadedness, nausea, and weakness. (Doc. 6-13, p. 114). Dr. Shannon Morgan

noted that Mr. Jones had a normal neurological exam, full range of motion and 5/5

muscle strength in his extremities, and a normal gait. (Doc. 6-13, p. 114). A chest

x-ray and CT scan of his head were normal. (Doc. 6-13, pp. 123-124). His drug

screen was positive for cocaine. (Doc. 6-13, p. 121). Mr. Jones stated that he was




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“going to [the] Correctional Facility” and left the hospital “against medical advice.”

(Doc. 6-13, p. 116). 43

     On November 13, 2017, Mr. Jones saw Dr. Tariq and complained of right knee

and neck pain that he rated at 10/10. (Doc. 6-15, p. 154). He reported decreased

mobility, numbness and tingling in his right foot, and insomnia. (Doc. 6-15, p. 154).

Dr. Tariq referred Mr. Jones to neurosurgery for pain medication. (Doc. 6-15, p.

158).

     On March 24, 2018, Mr. Jones fell in the shower, hit his head, lost

consciousness for about five minutes, and suffered a closed head injury. (Doc. 6-

14, pp. 87, 89). Mr. Jones reported that a friend pulled him out of the shower and

called an ambulance, and the ambulance brought him to the local emergency

department. (Doc. 6-14, p. 87).44 A CT scan of his brain showed a possible

hemorrhage.      Mr. Jones was transferred to UAB hospital for a neurosurgical

evaluation. (Doc. 6-14, p. 87; Doc. 6-18, p. 57). Dr. Matthew Neth admitted Mr.

Jones for a possible intraparenchymal hemorrhage. (Doc. 6-14, pp. 81, 86). Mr.

Jones complained of headaches, neck pain, numbness, and weakness. (Doc. 6-14,


43
   The record contains a nurse’s note and medical screening form from DeKalb County Sheriff’s
Office dated July 15, 2017, indicating that Mr. Jones was in jail on that date. (Doc. 6-16, pp. 32-
33).
44
   The emergency room records indicated that Mr. Jones fell “while in the shower at a local jail.”
(Doc. 6-18, p. 56). Dr. Tariq’s March 29, 2018 medical notes indicate that Mr. Jones fell in the
shower while he was in the Etowah County jail. (Doc. 6-15, p. 161).


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p. 81). Mr. Jones had 4/5 strength in his left upper arm, 5/5 strength in all other

extremities, and decreased sensation in his left upper arm. (Doc. 6-14, p. 83). A

CT scan of Mr. Jones’s head showed a “[m]inimal asymptomatic hemorrhage.”

(Doc. 6-14, pp. 84, 89, 97; Doc. 6-18, p. 44). A cervical spine CT showed “[m]ild

cervical dis[c] disease noted at C3, C4, and C6” but “[n]o acute cervical spine

injury.” (Doc. 6-18, p. 46). Lumbar spine x-rays showed a “small Schmorl node”

within the “superior endplate of L1” but did not show “evidence of acute fracture,

lytic, or blastic lesion.” (Doc. 6-18, pp. 48, 52). A cervical spine x-ray showed mild

cervical disc disease at C3 but no acute bony injury.              (Doc. 6-18, p. 50).

Neurosurgery evaluated Mr. Jones and recommended “no further neurosurgical

intervention.” (Doc. 6-14, pp. 86, 87, 89, 93). Mr. Jones’s diagnoses included

intracerebral hemorrhage, cervical strain, and chronic left arm weakness and

numbness. (Doc. 6-14, pp. 85-86).

    Mr. Jones saw CRNP Romaine Heard in Dr. Tariq’s office on March 29, 2018

and requested a referral to a neurosurgeon. (Doc. 6-15, p. 159). He complained of

headaches. (Doc. 6-15, p. 164). CRNP Heard referred Mr. Jones to neurosurgeon

Dr. Dawkins at UAB for evaluation and treatment. (Doc. 6-15, p. 164). On April 9,




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2018, Mr. Jones saw Dr. Tariq and complained of pain at 9/10 and requested a

referral to pain management. (Doc. 6-15, p. 167).45

     On August 20, 2018, Mr. Jones saw Dr. Adam Kessler at the UAB Hospital

emergency department and complained of neck, shoulder, and back pain; blackouts;

dizziness; and headaches. (Doc. 6-14, p. 99). Mr. Jones left against medical advice

after waiting in the lobby for 13 hours. (Doc. 6-18, pp. 18, 21, 35). Mr. Jones went

to Gadsden Regional Medical Center emergency department on August 21, 2018

and was admitted to the hospital. (Doc. 6-18, pp. 15-26, 35-43). Dr. Sandra

Carpenter was his attending physician. (Doc. 6-18, p. 15). Mr. Jones reported

headaches and blackouts since March 2018 after he fell in the shower. (Doc. 6-18,

p. 18). Mr. Jones reported having episodes of confusion and unresponsiveness.

(Doc. 6-18, p. 24). He stated that the “black-out spells” happened quickly; he could

not remember anything and was lethargic after a spell. (Doc. 6-18, p. 21). Mr. Jones

stated that he “was told he had a head bleed.” (Doc. 6-18, p. 18). A brain MRI

showed a “[r]ight posterior parafalcine 5 mm meningioma, unchanged from 2012”

but was otherwise normal. (Doc. 6-18, pp. 18, 27).46 An echocardiogram showed


45
  The record contains a nurse’s note and medical screening form from DeKalb County Sheriff’s
Office indicating that Mr. Jones was in jail on July 16, 2018. (Doc. 6-16, pp. 34-35).
46
   Dr. Carpenter noted that Dr. Tariq had tried to arrange an outpatient brain MRI, but Mr. Jones
“recently lost his Medicaid and Medicare.” (Doc. 6-18, pp. 35, 36). Dr. Carpenter noted that
neurology and the emergency room nurse practitioner asked her to admit Mr. Jones to obtain a
brain MRI. (Doc. 6-18, p. 35).


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“moderately reduced” left ventricular systolic function, and a carotid doppler was

normal. (Doc. 6-18, pp. 18-19, 30-31, 33-34). Dr. Jones administered a low dose of

an ACE1 inhibitor and referred Mr. Jones to a cardiologist. (Doc. 6-18, p. 19). Mr.

Jones was discharged on August 24, 2018. (Doc. 6-18, p. 15). 47

     Mr. Jones saw Dr. Tariq on August 28, 2018 and complained of musculoskeletal

pain that he rated at 8/10. (Doc. 6-15, p. 169). On February 5, 2019, Mr. Jones

sought treatment at the Gadsden Regional Medical Center emergency department

and complained of moderate neck and back pain. (Doc. 6-12, p. 12). Dr. Rodney

Soto noted that Mr. Jones wore a “soft collar” that he said his primary care physician

ordered. (Doc. 6-12, p. 12). Mr. Jones reported that his primary care physician

referred him to pain management and that he had a follow up appointment with

neurosurgery. (Doc. 6-12, p. 12). Mr. Jones stated that his primary care physician

was unable to prescribe pain medication and sent Mr. Jones to the emergency

department. (Doc. 6-12, p. 12). Mr. Jones requested pain medication “to bridge him

through that time.” (Doc. 6-12, p. 12). Mr. Jones had normal range of motion,

normal strength, and no tenderness or swelling in his musculoskeletal system. (Doc.

6-12, p. 14). Dr. Soto diagnosed chronic neck pain. (Doc. 6-12, p. 15).



47
   “Angiotensin-converting enzyme (ACE) inhibitors are medicines that help relax the veins and
arteries to lower blood pressure. ACE inhibitors prevent an enzyme in the body from making
angiotensin 2, a substance that narrows blood vessels. This narrowing can cause high blood
pressure and forces the heart to work harder.” See https://www.mayoclinic.org/diseases-
conditions/high-blood-pressure/in-depth/ace-inhibitors/art-20047480 (last visited March 6, 2025).
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       Mr. Jones saw Dr. Tariq on September 23, 2019 and complained of back and

neck pain at 7/10. (Doc. 6-12, pp. 31, 36, 37, 40). Mr. Jones stated that bending,

climbing stairs, lifting, pushing, sitting, walking, and standing aggravated his pain.

(Doc. 6-12, p. 31). Mr. Jones had muscle spasms and moderate pain with range of

motion in his thoracic and lumbar spine. (Doc. 6-12, pp. 36, 37). Dr. Tariq’s

diagnoses included spondylosis of the cervicothoracic region, cardiomyopathy,

lower back pain, and hypertension. (Doc. 6-12, pp. 38-39). Dr. Tariq noted that he

would refer Mr. Jones to UAB charity care because Mr. Jones did not have insurance

and could not afford the workup for cardiomyopathy. (Doc. 6-12, p. 38). At an

April 2, 2020 telephone visit with Dr. Tariq, Mr. Jones complained of neck and

shoulder pain, hypertension, and cardiomyopathy for which he had not sought

medical treatment because he had not applied for UAB charity care. (Doc. 6-12, p.

80).    Dr. Tariq recommended neck exercises for Mr. Jones’s neck pain and

encouraged Mr. Jones to complete the UAB charity care paperwork. (Doc. 6-12, p.

84).

       At a visit with Dr. Tariq on June 16, 2020, Mr. Jones complained of difficulty

sleeping, “joint instability and locking,” lower back pain, and left hip pain after he

injured it chasing his dog. (Doc. 6-12, pp. 87, 91). Mr. Jones rated his pain at 10/10

when he arrived and 8/10 at the end of the visit. (Doc. 6-12, p. 93). Mr. Jones

requested a cardiology referral and medication refills. (Doc. 6-12, p. 87). Mr. Jones


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was positive for joint pain and popping and had tenderness and mildly reduced range

of motion in his left hip. (Doc. 6-12, pp. 92-93). He was oriented to time, place,

person, and situation and had appropriate mood and affect. (Doc. 6-12, p. 93). Dr.

Tariq diagnosed a left hip sprain and gave Mr. Jones a steroid and Toradol injection.

(Doc. 6-12, p. 91).

    On June 16, 2020, Mr. Jones saw Dr. Scott Kelley and CRNP Lawrence Dudley

at the Gadsden Regional Medical Center emergency department after Mr. Jones

suffered a reaction to the steroid and Toradol injections that Dr. Tariq administered.

(Doc. 6-12, p. 54). Mr. Jones became severely confused, tried to jump out of a

window, and ran from Quality of Life. (Doc. 6-12, p. 54). An EMS technician stated

that police gave Mr. Jones the options of an evaluation at the emergency department

or jail. (Doc. 6-12, p. 54). Mr. Jones’s altered mental state resolved while in the

emergency department, and his physical and mental examinations were normal.

(Doc. 6-12, pp. 54, 56). Dr. Dudley diagnosed an adverse reaction to medication.

(Doc. 6-12, p. 57).

    At a September 16, 2020 visit with Dr. Tariq and CRNP Phillip Rogers, Mr.

Jones complained of a heart condition, left hip pain, left foot numbness, headaches,

and a “blood leak in his head.” (Doc. 6-12, p. 102). Mr. Jones stated that he was

experiencing neck pain and shoulder pain and that he could not feel his left toes “for

a while.” (Doc. 6-12, p. 102). An x-ray of Mr. Jones’s left hip showed early


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osteoarthritis but no acute injury. (Doc. 6-12, p. 110). Mr. Jones’s physical and

psychiatric evaluations were normal. (Doc. 6-12, p. 107). Dr. Tariq’s diagnoses

included hypertension, left hip pain, cervicalgia, cardiomyopathy, and headaches.

(Doc. 6-12, p. 102). Dr. Tariq instructed Mr. Jones to take 600 mg of Motrin for his

headaches and referred Mr. Jones to an orthopedic surgeon and a cardiologist

“ASAP.” (Doc. 6-12, pp. 107-108).

     On October 26, 2020, Mr. Jones saw Dr. Tariq and complained of left shoulder

pain that was worse at night; neck pain aggravated by exertion, flexion, and

hyperextension; burning left arm pain; heart issues; and stress. (Doc. 6-12, pp. 116-

117). Mr. Jones requested referrals to a pain clinic, orthopedic surgery, and physical

therapy; he also requested a left shoulder brace. (Doc. 6-12, pp. 116, 117, 119). Mr.

Jones had cellulitis and raised lesions under his right shoulder joint that were tender

to touch; muscles spasms and mildly reduced range of motion in his cervical spine;

and normal range of motion in both shoulders. (Doc. 6-12, p. 121). Dr. Tariq

referred Mr. Jones to pain management and noted that Mr. Jones had a cardiologist

appointment the next day. (Doc. 6-12, p. 122).

     Mr. Jones visited cardiologist Dr. Patel’s office on October 27, 2020. (Doc. 6-

12, p. 127). The notes from the visit indicate that Mr. Jones was mad because he

had to pay $150.00 for the visit, cussed out staff because he had to wait, demanded

his money back, and jerked the money out of a staff person’s hand. (Doc. 6-12, p.


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127). Dr. Patel instructed his staff not to schedule another appointment for Mr.

Jones. (Doc. 6-12, p. 127). 48 Mr. Jones called the Social Security Office and was

irate and used profanity because he had to pay cash at the heart doctor because his

Social Security benefits had been “cut off.” (Doc. 6-8, p. 45).

      Medical records from the DeKalb County Sheriff’s Office indicate that Mr.

Jones received treatment and medications for back and shoulder pain, hypertension,

and chronic obstructive pulmonary disease during his incarceration between January

and August 2021. (Doc. 6-16, pp. 37-62). 49 In January 2021, Mr. Jones complained

of back and shoulder pain and had limited range of motion in his left shoulder. (Doc.

6-16, pp. 37-38). Dr. Robert Theakston prescribed naproxen. (Doc. 6-16, pp. 37-

38). In February 2021, Mr. Jones complained of left shoulder and arm pain and

numbness, and Dr. Theakston administered a Kenalog and lidocaine injection in Mr.

Jones’s shoulder. (Doc. 6-16, p. 40).50 On February 10, 2021, Mr. Jones saw EMT



48
    At the request of the Social Security Administration, Dr. Patel was scheduled to evaluate Mr.
Jones on February 24, 2021. (Doc. 6-8, p. 46). Mr. Jones did not bring his identification with him
to the evaluation, left Dr. Patel’s office to get his identification, and later called the office to report
that the police had his identification because he recently was released from jail. (Doc. 6-8, p. 46).
49
   Records indicate that Mr. Jones was incarcerated from January to mid-February and from March
through August 2021. Dr. Theakston wrote in his August 4, 2021 notes that Mr. Jones did not
seek treatment between incarcerations. (Doc. 6-16, p. 54).
50
   “Acute and chronic shoulder pain can be treated with a shoulder injection” that “includes a
combination of anesthetic (lidocaine or bupivacaine) and steroid (cortisone, Kenalog or
dexamethasone). The local anesthetic will be responsible for the immediate relief and the steroid
is       used      to      provide        more        long-term        relief.”               See
https://www.excelpainandspine.com/treatments/shoulder-injection (last visited Feb. 28, 2025).
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John Smith and complained of left shoulder and arm pain and numbness. (Doc. 6-

16, pp. 41-42). Mr. Jones had no tenderness or weakness in his musculoskeletal

system, and he received Tylenol for pain. (Doc. 6-16, pp. 41-42). On February 12,

2021, Mr. Jones saw RN Shalanne Whited for shoulder pain and radiculopathy and

chest pain. (Doc. 6-16, pp. 43-45). RN Whited ordered an MRI of Mr. Jones’s

cervical spine and right shoulder and continued naproxen for pain. (Doc. 6-16, p.

45). Officers transported Mr. Jones to the Dekalb County Regional Medical Center

emergency department for his chest pain. (Doc. 6-16, p. 45). Mr. Jones yelled and

cursed in the transport vehicle because he was claustrophobic and could not ride in

the back of the van. (Doc. 6-16, p. 44). A chest x-ray was normal. (Doc. 6-16, p.

64). Mr. Jones refused an EKG and treatment at the emergency department because

he was in corporal restraints. (Doc. 6-16, p. 74).

    Mr. Jones returned to the DeKalb County jail on March 4, 2021 and refused his

medications on March 5 and 11, 2021. (Doc. 6-16, pp. 49, 51, 63). On March 19,

2021, Mr. Jones saw Dr. Theakston and complained of difficulty breathing. (Doc.

6-16, p. 49). Dr. Theakston noted that he had provided Mr. Jones an inhaler on

March 4, 2021, but Mr. Jones denied having an inhaler. (Doc. 6-16, p. 49). On May

21, 2021, Mr. Jones complained of chronic shoulder pain and requested an MRI.

(Doc. 6-16, p. 52). On August 4, 2021, Mr. Jones reported right shoulder pain, and




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Dr. Theakston administered a right shoulder Kenalog and lidocaine injection and

prescribed naproxen. (Doc. 6-10, p. 58).

     Medical records dated August 2021 through February 2023 from Mr. Jones’s

incarceration at Cherokee County jail showed that he complained of pain in his neck,

back, and left leg, arm, and shoulder pain. (Doc. 6-21, pp. 1, 60-61, 65-67, 71-72,

93-96, 98-99, 101-102, 110-112, 121, 125, 145). Mr. Jones’s diagnoses included

degenerative disc disease and cervical spondylosis. (Doc. 6-21, pp. 84, 144). Mr.

Jones’s medications included naproxen, meloxicam, Flexeril, Tylenol, Robaxin, and

baclofen. (Doc. 6-21, pp. 60, 62, 64, 90-91, 97, 134-139, 141-143, 146-148, 153,

155-157). On November 29, 2021, Mr. Jones saw PA James Lombardo at Northeast

Orthopedics and complained of moderate neck and left shoulder pain. (Doc. 6-16,

pp. 99, 101).51 Mr. Jones stated that his neck pain was worse when he flexed,

extended, or moved his neck and when he used his arms, but rest relieved his pain.

(Doc. 6-16, p. 101). Mr. Jones indicated that epidurals, anti-inflammatories, muscle

relaxers, and steroids did not help his pain. (Doc. 6-16, p. 101). Mr. Jones had a

positive Spurling test and mild bicep and tricep weakness on his left side. (Doc. 6-

16, p. 101). PA Lombardo diagnosed cervical spondylosis; he ordered a cervical

MRI “followed by an epidural injection for pain relief.” (Doc. 6-16, p. 101).


51
    Medical staff at the jail scheduled this appointment for Mr. Jones. (Doc. 6-21, p. 92). PA
Lombardo’s notes indicated that Mr. Jones was incarcerated at the time of this visit. (Doc. 6-16,
p. 101).
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     A January 20, 2022 MRI of Mr. Jones’s cervical spine without contrast showed

“[m]inimal disc bulge with associated thecal sac effacement but no significant

contact of the spinal cord” and “[m]oderate left and mild right neuroforaminal

stenosis” at C3-4; “[s]light disc bulge asymmetric to the left with associated thecal

sac effacement [] without significant contact of the spinal cord” and “[m]oderate-

severe left neuroforaminal stenosis” at C4-5; and “[s]light disc bulge with minimal

thecal sac effacement and no significant contact of the spinal cord” at C5-6 and C6-

7. (Doc. 6-16, p. 89).52

     At a March 14, 2022 visit, PA Lombardo noted that Mr. Jones was incarcerated

and difficult to examine because he was handcuffed. (Doc. 6-16, p. 100). 53 PA

Lombardo noted the January 20, 2022 MRI that showed “moderate to severe left

foraminal stenosis” at C4-5. (Doc. 6-16, p. 100). PA Lombardo did not recommend

neck surgery but “offered a series of epidurals particularly at the C4-5 level.” (Doc.



52
   “The symptoms [of neuroforaminal stenosis] vary depending on the severity of the narrowing,
the original width of the foramen, and the vulnerability of the nerves affected. The site of the
narrowing will determine the location of the symptoms. Cervical foraminal stenosis affects the
head, shoulders, upper back, arms, and hands.” See https://www.bonati.com/conditions/foraminal-
stenosis/neural-foraminal-stenosis/ (last visited March 6, 2025).

“There are many potential symptoms of cervical foraminal stenosis, ranging from a mild neck ache
to severe, debilitating pain that goes into the arm. The specific symptoms can vary depending on
which spinal nerve root is being compressed as well as the severity of the stenosis.” See
https://www.spine-health.com/conditions/spinal-stenosis/cervical-foraminal-stenosis-symptoms
(last visited March 6, 2025).
53
   The records for the March 14, 2021 visit listed the “US Marshal Service Chattanooga District”
as the “Patient Insurance Information” for the visit and epidurals. (Doc. 6-16, p. 102).
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6-16, p. 100). PA Lombardo noted that if the epidural injections did not provide

relief, he would “consider [a] myelography to fully delineate pathology.” (Doc. 6-

16, p. 100). For his shoulder pain, PA Lombardo administered a Kenalog and

Marcaine injection. (Doc. 6-16, p. 100).

                              Consultative Opinions

                    Dr. Jack Bentley, Jr.’s Mental Examination

    On June 10, 2012, at the request of the Social Security Administration, licensed

psychologist Dr. Bentley examined Mr. Jones and reviewed background information

the Social Security Administration provided. (Doc. 6-20, pp. 199-203). Dr. Bentley

included in his report a discussion of Mr. Jones’s self-reported personal, work, and

medical history. (Doc. 6-20, pp. 199-200). Mr. Jones reported that he was severely

depressed, “excessively anxious when the pain [was] most acute,” and socially

withdrawn. (Doc. 6-20, pp. 199, 201). He stated that he had suicidal ideation, crying

spells, mood swings, irritability, and poor sleep and that he was not taking

psychiatric medications because they did into “significantly improve[] his mood.”

(Doc. 6-20, pp. 199, 201). Mr. Jones indicated that he completed his ADLs without

assistance. (Doc. 6-20, p. 201).

    Dr. Bentley noted that Mr. Jones “exhibited multiple pain related behaviors,”

“appeared to be in severe pain during much of the interview,” was restless and

distractable, “had difficulty focusing his attention span,” and had a “slow and


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moderately ataxic gait.” (Doc. 6-20, p. 200). 54 Mr. Jones had a severely depressed

mood and was “briefly labile.” (Doc. 6-20, p. 200). Dr. Bentley noted that Mr.

Jones was alert and oriented and had good communication skills, fair eye contact,

and intact immediate memory. (Doc. 6-20, p. 200). Mr. Jones could not recall three

objects after five-minutes; could not interpret two proverbs; had difficulty with

subtraction, and could not spell “world.” (Doc. 6-20, p. 201).

     Dr. Bentley administered the Wechsler Adult Intelligence Scale-IV and

assessed Mr. Jones’s intellectual functioning. (Doc. 6-20, pp. 201-202). Mr. Jones

scored a 61 on verbal comprehension, 84 on perceptual reasoning, 66 on working

memory, and 59 on processing speed, resulting in a full scale IQ score of 63. (Doc.

6-20, pp. 201-202).        Dr. Bentley’s diagnosed “[m]ild [m]ental [r]etardation,”

moderate to severe major depression, and “[p]sychological [p]roblems [e]ffecting

[p]hysical [h]ealth.” (Doc. 6-20, p. 202). 55 Dr. Bentley wrote:

       [Mr. Jones’s] impairment level for complex and repetitive tasks would
       fall into the severe range due both to his mood as well was his reduced
       intellectual functioning. Although his restrictions due to physical

54
   An ataxic gait “is is described as clumsy, staggering movements with a wide-based gait.” See
https://stanfordmedicine25.stanford.edu/the25/gait.html#ataxic-gait (last visited Mar. 26, 2025).
55
   In 2013, the Social Security Administration replaced the term mental retardation with the term
intellectual disability as a listed impairment. Change in Terminology: “Mental Retardation” to
“Intellectual Disability,” 78 Fed. Reg. 46,499 (Aug. 1, 2013) (codified at 20 C.F.R. pts. 404 &
416). This change was made because “the term ‘mental retardation’ has negative connotations,”
and “has become offensive to many people.” 78 Fed. Reg. 46,499. But this change “d[id] not
affect the actual medical definition of the disorder or available programs or services.” 78 Fed.
Reg. at 46,500.


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      limitations would need to be established by an appropriately trained
      physician, his behavior during the interview would appear to have a
      marked impairment on his ability to sustain any work related activities.
      There would be a marked impairment in his ability to maintain effective
      communication with co-workers and supervisors. He would likely
      need assistance in managing any fund that may be awarded.

(Doc. 6-20, p. 203). Dr. Bentley opined that Mr. Jones’s prognosis was “[g]uarded.”

(Doc. 6-20, p. 202).

     On May 13, 2013, at the request of the Social Security Administration, Dr.

Bentley completed a mental medical source statement of Mr. Jones’s mental ability

to complete work-related activities. (Doc. 6-10, pp. 194-196). Dr. Bentley opined

that Mr. Jones had extreme limitations in his ability to carry out complex instructions

and to make complex work-related decisions. (Doc. 6-20, p. 194). Dr. Bentley

opined that Mr. Jones had marked limitations in his ability to understand, remember,

and carry out simple instructions; to make judgments on simple work-related

decisions; to interact appropriately with the public, supervisors, and co-workers; and

to respond appropriately to usual work situations and changes in routine. (Doc. 6-

10, p. 195). Dr. Bentley found that Mr. Jones’s mental limitations dated to 2011.

(Doc. 6-10, p. 195).

                       Dr. Usha Nuthi’s Physical Examination

     On June 5, 2013, at the request of the Social Security Administration,

neurologist Dr. Nuthi reviewed Mr. Jones’s medical records provided by the

administration and evaluated him. (Doc. 6-21, pp. 4-11). Mr. Jones reported severe
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pain in his neck, back, and left leg and shoulder; numbness and weakness in his feet,

legs, and hands; muscle cramps; daily headaches; and sleep disturbances. (Doc. 6-

21 pp. 4, 10). Mr. Jones stated that bending, exercising, laying down, lifting more

than 10 pounds, and stress made his pain worse. (Doc. 6-21, pp. 4, 10). Mr. Jones

reported that he could tie shoelaces, pick up small objects, button a shirt, hold a glass,

and turn a doorknob. (Doc. 6-21, p. 10).

     Dr. Nuthi noted that Mr. Jones had a normal mood, appropriate affect, normal

speech, and appropriate fund of knowledge. (Doc. 6-21, p. 10). He did not use an

assistive devise to walk and had an “appropriate” gait, 5/5 motor strength, intact

sensation, normal coordination, a negative straight leg raise test, and a negative

Romberg test.      (Doc. 6-21, pp. 10-11). Dr. Nuthi noted that Mr. Jones had

“decreased effort” on the “left leg hip flexion testing” and “muscle stretch reflexes.”

(Doc. 6-21, pp. 10, 11). Dr. Nuthi wrote that Mr. Jones had mild to moderate stenosis

at C3-4 but did not have “significant weakness, [or] incoordination” and had “good

hand grip.” (Doc. 6-21, p. 11). Dr. Nuthi assessed low back pain and cervicalgia.

(Doc. 6-21, p. 11).

     Dr. Nuthi completed a medical source statement regarding Mr. Jones’s physical

limitations. (Doc. 6-21, pp. 8-9). 56 Dr. Nuthi opined that Mr. Jones could lift and


56
   The Court does not have before it Dr. Nuthi’s complete medical source opinion because the
record contains only pages one and five of Dr. Nuthi’s seven-page medical source opinion. (See
Doc. 6-21, pp. 8-9).
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carry 10 pounds frequently and 20 pounds occasionally; occasionally be exposed to

unprotected heights and extreme cold; frequently be exposed to moving parts,

humidity, wetness, dust, fumes, irritants, extreme heat, and vibrations; and

frequently operate a motor vehicle. (Doc. 6-21, pp. 8-9). On a page labeled

“PHYSICAL CE EMPHASIS SHEET ADDITION,” Dr. Nuthi wrote that Mr. Jones

could sit 15 minutes; stand three minutes; and walk, lift, and carry five minutes, with

the phrase “per pt.” written below these limitations. (Doc. 6-21, p. 7).

                      Dr. June Nichols’s Mental Examination

     On October 24, 2017, at the request of the Social Security Administration, Dr.

Nichols, a licensed psychologist at Gadsden Psychological Services, reviewed Mr.

Jones’s medical record, including Dr. Bentley’s report, and evaluated him. (Doc. 6-

13, pp. 131-134). Mr. Jones reported that he had “been on disability for the last four

or five years,” that he missed an appointment with Social Security to attend a

neurology appointment in Birmingham, and that the Social Security Administration

terminated his benefits. (Doc. 6-13, p. 131). Mr. Jones indicated that he had had

severe pain for eight years and needed surgery on his back, but did not have medical

insurance. (Doc. 6-13, p. 131). Mr. Jones stated that the “only thing that helped was

alcohol,” but he had quit drinking four years earlier. (Doc. 6-13, p. 131). He

reported that he felt useless because he could not do anything, had crying episodes

and decreased energy, and did not want to be around people. (Doc. 6-13, p. 132).


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Mr. Jones stated that he had “never been involved in counseling.” (Doc. 6-13, p.

131).

    Dr. Nichols noted that Mr. Jones had a dysthymic mood, congruent thought

processes, good insight and judgment, a frustrated voice, and a sad and tearful affect

throughout the assessment. (Doc. 6-13, p. 132). In testing, Mr. Jones could not spell

the word “world” backwards; could perform threes but not serial sevens; could add,

subtract, and multiply; had fair immediate and remote memory; had adequate fund

of knowledge; could not interpret proverbs; and could not complete similarity items.

(Doc. 6-13, p. 133). Dr. Nichols concluded that Mr. Jones “function[ed] in the

[b]orderline range of intellectual ability.” (Doc. 6-13, p. 133). Dr. Nichols noted

Dr. Bentley’s evaluation and IQ testing results. (Doc. 6-13, p. 134).

    Dr. Nichols diagnosed Mr. Jones with severe major depressive disorder, alcohol

use disorder that was in remission, mild intellectual disabilities, chronic back pain,

left sided radiculopathy and sciatica. (Doc. 6-13, pp. 133-34). Dr. Nichols opined

that Mr. Jones had the following limitations:

        [Mr. Jones] appeared able to understand, but often asked for
        clarification before attempting to carry out instructions. He would
        likely have problems with understanding, remembering[,] and carrying
        out instructions. He [was] unable to sustain concentration and persist
        in a work[-]relate[d] activity at a reasonable pace. He [was] likely
        unable to maintain effective social interaction on a consistent and
        independent basis with supervisors, coworkers, and the public. He
        [was] likely unable to deal with normal pressures in a competitive work
        setting. He [was] likely unable to manage his own funds.


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(Doc. 6-13, p. 134). Dr. Nichols indicated that Mr. Jones’s prognosis for significant

improvement was poor “as the intellectual disabilities would not be expected to

improve” and his chronic pain “would not be expected to change” without treatment

that Mr. Jones could not afford. (Doc. 6-13, p. 134).

               Dr. Donald Blanton’s Telehealth Mental Health Exam

     On July 16, 2020, at the Social Security Administration’s request, licensed

professional counselor Dr. Blanton conducted a videoconference mental health

examination of Mr. Jones. (Doc. 6-12, pp. 65-69). Dr. Blanton indicated that

“[t]here were no records available at the time of [the] interview.” (Doc. 6-12, p. 65).

Mr. Jones reported that he was “always in pain,” was easily frustrated and

disappointed,” and took “some unknown psychiatric medications” that did not help.

(Doc. 6-12, p. 65). Mr. Jones stated that he had anxiety, poor sleep[,] and low

energy. (Doc. 6-12, p. 66). Mr. Jones rated his neck, hip, and leg pain at 8/10 at the

visit, and Dr. Blanton noted that Mr. Jones was “visibly restless.” (Doc. 6-12, p.

66). Mr. Jones reported that he could do some housework and cooking, drove

occasionally, could stop and handle money, had no friends, spent most of the day at

home watching television, did not read well, could text and play games on his phone,

and could not exercise because of pain. (Doc. 6-12, p. 66).

     Dr. Blanton noted that Mr. Jones was alert and oriented to time, place, person,

and situation and had a flat but appropriate affect, a depressed mood, crying spells,


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adequate recent and remote memory, and adequate judgment. (Doc. 6-12, p. 66).

Mr. Jones did not have hallucinations, suicidal or homicidal ideations, delusions, or

paranoia. (Doc. 6-12, p. 66). Dr. Blanton wrote that Mr. Jones “was obsessing about

the motor vehicle accident and his ongoing pain.” (Doc. 6-12, p. 66). Dr. Blanton

noted that Mr. Jones could “do calculations,” concretely interpreted similarities and

proverbs, and “did four digits forward and three backward.” (Doc. 6-12, p. 66). Dr.

Blanton estimated that Mr. Jones had “below average” intelligence. (Doc. 6-12, p.

66). Dr. Blanton wrote that Mr. Jones “appear[ed] to have ongoing problems with

anxiety and depression likely due to multiple medical problems and worsened

chronic pain.” (Doc. 6-12, p. 66).

   Dr. Leslie N. Rodrigues’s and Dr. Eugene E. Fleece’s Administrative Mental
                    Residual Functional Capacity Assessments

    On July 21, 2020, at the request of the Social Security Administration, Dr.

Rodrigues reviewed Mr. Jones’s medical records and assessed his mental residual

functional capacity. (Doc. 6-4, pp. 44-47). Dr. Rodrigues opined that Mr. Jones had

marked limitation in his ability to interact appropriately with the general public and

moderate limitation in his ability to understand, remember, and carry out detailed

instructions; maintain attention and concentration for extended periods; work in

coordination with or proximity to others without distraction; respond appropriately

to criticism from supervisors; get along with co-workers or peers without districting



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them or exhibiting behavioral extremes; and respond appropriately to changes in the

work setting. (Doc. 6-4, pp. 45-46).

       Dr. Rodrigues explained that Mr. Jones could:

        carry out simple instructions and sustain attention to familiar tasks for
        extended periods, but not detailed instructions. [Mr. Jones] would
        function best with his own work area/station without close proximity to
        others. [Mr. Jones] could tolerate ordinary work pressures, but should
        avoid: excessive workloads, quick decision making, rapid changes, and
        multiple demands. [Mr. Jones] would benefit from regular rest breaks,
        but would still be able to maintain an acceptably consistent work pace.

(Doc. 6-4, pp. 45-46). Dr. Rodriques noted that Mr. Jones should have limited

contact with the public, supportive feedback, tactful and nonconfrontational

criticism, and casual contact with co-workers. (Doc. 6-4, p. 46). Dr. Rodriguez

opined that Mr. Jones “would be expected to have occasional (less then one third of

the time) conflicts with co-workers” and “would likely do best working with a small

number of familiar co-workers.” (Doc. 6-4, p. 46).

       On January 25, 2021, Dr. Fleece completed a mental residual functional

capacity assessment after reviewing Mr. Jones’s medical records. (Doc. 6-4, pp. 66-

70).     Dr. Fleece’s assessment was identical to Dr. Rodriques’s assessment.

(Compare Doc. 6-4, pp. 66-70 with Doc. 6-4, pp. 44-47).




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                    CRNP Angela Foster’s Physical Examination57

     On July 25, 2020, at the Social Security Administration’s request, CRNP Foster

reviewed Mr. Jones’s medical records and examined him. (Doc. 6-12, pp. 71-76).

Mr. Jones reported that he had severe neck, back, and left hip and shoulder pain that

“impact[ed] his daily living.” (Doc. 6-12, pp. 71-72). Mr. Jones indicated that he

could sit for short periods of time less than 15 minutes, stand for a maximum of 45

minutes before had had to sit down and rest, and walk for 200 yards before tiring.

(Doc. 6-12, p. 71).

     CRNP Foster noted that Mr. Jones was anxious, had “mildly slowed”

movements, constantly shifted positions, could stand up from a seated position and

get on and off the examination table with “mild difficulty,” and used an assistive

device and neck brace. (Doc. 6-12, pp. 72, 74). On physical examination, Mr. Jones

had 5/5 strength in his right arm, leg, and hand and 3/5 strength on the left; difficulty

pinching, grabbing, and manipulating objects; normal sensation; difficulty squatting

and rising; difficulty walking on his heels and toes on the left side; a normal gait;

and limited range of motion in his neck, back, and left leg and shoulder. (Doc. 6-

12, pp. 73-76). CRNP Foster noted that Mr. Jones had limitations sitting and




57
  CRNP Foster’s assessment appears to have been misidentified in the transcript as performed by
“Ashley Nicole Wagner CRNP.” (Doc. 6-2, p. 4; Doc. 6-12, p. 70). Mr. Jones referred to CRNP
Foster’s assessment as the “Wagner Opinion,” (Doc. 9, pp, 3-5, 23-24), and the ALJ referenced
both “Wagner” and “Foster” in her decision, (Doc. 6-3, pp. 37, 40)
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standing, needed to change positions often, had limitations walking but could walk

“continuously,” and could lift and carry only 10 pounds on the left side because of

loss of strength and dexterity in his left arm and leg. (Doc. 6-12, p. 76). CRNP

Foster recommended following up with an orthopedic doctor for musculoskeletal

pain, a psychiatrist for severe anxiety and paranoia, and a neurologist for nerve pain.

(Doc. 6-12, p. 76).

                            Mr. Jones’s Function Report

      At the request of the Social Security Administration, Mr. Jones completed a

function report. (Doc. 6-8, pp. 19-26). Mr. Jones did not date the report. (Doc. 6-

8, p. 26). Mr. Jones indicated that he cared for a dog with his girlfriend’s help. (Doc.

6-8, p. 20). Mr. Jones stated that he needed reminders to take his medication,

sometimes prepared meals, cleaned, did laundry, took out the trash, and watched

television. (Doc. 6-8, pp. 21, 23). Mr. Jones wrote that he did not like himself and

wanted to give up. (Doc. 6-8, pp. 20, 21). For the question regarding whether he

drove, Mr. Jones marked “yes and no” but did not explain his answer. (Doc. 6-8, p.

22). He indicated that he could pay bills and count change but could not handle a

savings account or use a checkbook. (Doc. 6-8, p. 22). Mr. Jones stated that he did

not spend time with others and did not like anybody. (Doc. 6-8, pp. 23, 24). He

reported that he did not get along well with family, friends, neighbors, or authority

figures; he did not handle stress or changes in routine well. (Doc. 6-8, pp. 24, 25).


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       Mr. Jones indicated that his physical and mental impairments affected his

ability to lift, squat, bend, stand, reach, walk, sit, kneel, climb stairs, use his hands,

understand, follow instructions, pay attention, and get along with others. (Doc. 6-

8, p. 24). He reported that his neck and back were “bad” and that he used a neck

brace. (Doc. 6-8, pp. 25-26).

                          Mr. Jones’s Administrative Hearing

       The ALJ held an administrative hearing by telephone on February 6, 2023.

(Doc. 6-3, p. 53). 58 At the time, Mr. Jones was in jail awaiting trial on drug charges.

(Doc. 6-3, pp. 56, 58). He testified that he was convicted of felony drug possession

in 1998 and served a jail sentence. (Doc. 6-3, p. 58). Mr. Jones stated that he was

in special education in school; he completed the twelfth grade but did not pass the

graduation examination. (Doc. 6-3, pp. 56, 64). Mr. Jones indicated that he could

read, write, add, subtract, divide, multiply, and use a calculator “some.” (Doc. 6-3,

p. 57). He could make change for a $20 and pay bills. (Doc. 6-3, p. 57).

       Mr. Jones testified that he did not have a work assignment in jail because he

injured his back and leg in a work accident in 2011 and in car accidents in 2011,

2013, and 2015. (Doc. 6-3, pp. 59, 62). He stated that he had pain in his neck that

radiated into his left arm, was right-handed but had to use his left hand to button a


58
   Mr. Jones’s attorney was disconnected from the telephone call and missed less than one minute
of Mr. Jones’s testimony. (Doc. 6-3, p. 63). The ALJ gave Mr. Jones’s attorney a summary of the
testimony that the attorney missed. (Doc. 6-3, pp. 63-64).
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shirt; and dropped items because of pain in his arm. (Doc. 6-3, pp. 64-65). He

indicated that his back pain radiated to his left leg, that he walked with a limp but

did not use a cane, that he could walk about two minutes before needing rest, and

that he could stand no longer than five minutes before he had to lay down. (Doc. 6-

3, pp. 61-62, 66). Mr. Jones stated that he could not bend, stoop, squat, or pick up

small items for a “long period of time.” (Doc. 6-3, p. 62). Mr. Jones testified that

epidural injections did not provide relief. (Doc. 6-3, p. 65). He stated that he needed

knee and shoulder surgery but did not have Medicaid or health insurance. (Doc. 6-

3, pp. 65-66). Mr. Jones stated that he could not take Tylenol or ibuprofen because

he had used the medication for three years. (Doc. 6-3, p. 68). Mr. Jones stated that

he had trouble sleeping and that he spent all day “except about an hour” lying down

to relieve his pain. (Doc. 6-3, pp. 66, 68). He indicated that he could not reach

overhead with his left arm, could not lift more than two pounds, had difficulty

breathing because of COPD, and was short of breath when he climbed stairs. (Doc.

6-3, pp. 62, 67).

      Mr. Jones testified that he could not work because of bipolar disorder, for

which he received treatment in the Cherokee County jail. (Doc. 6-3, p. 59). Mr.

Jones testified that he had anxiety, did not like anybody, and did not like himself.

(Doc. 6-23, p. 61). Mr. Jones stated that he had been taking Buspar, but doctors at

the jail changed the medication, and he could not remember the name of the new


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medication. (Doc. 6-3, pp. 59-60). He indicated that he had tried several psychiatric

medications that helped for a “little while” or made him worse. (Doc. 6-3, p. 69).

Mr. Jones testified that he “was on Social Security for those problems,” but his

disability stopped when he missed a psychiatrist appointment. (Doc. 6-3, p. 60). He

indicated that his mental problem caused him to miss the appointment. (Doc. 6-3,

pp. 60, 61). Mr. Jones stated that he had to go to a soup kitchen and had to “do

anything [] to make money to provide for [his] family.” (Doc. 6-3, pp. 60-61).

    The ALJ asked vocational expert James Miller to consider the work available

to an individual with no prior work experience with the same age and education as

Mr. Jones who could perform light work with the following limitations:

      [could] lift and carry 20 pounds occasionally[] and ten pounds
      frequently[;] [could] sit, stand, and walk six hours [] during an eight-
      hour workday[;] [could] push and pull as much as lift and carry[;]
      [could] climb ramps and stairs frequently[;] [could] climb ladders,
      ropes, and scaffolds frequently[;] [could] stoop and crawl frequently[;]
      []should never work at unprotected heights [or] with moving
      mechanical parts[;] [could have occasional exposure] to humidity and
      wetness or extreme cold temperatures[;] [] would be restricted to simple
      [] routine tasks[;] [] could perform simple work-related decisions[;] []
      could tolerate occasional contact with coworkers, supervisors, and the
      general public[;] [and] [] could deal with changes in the workplace
      defined as infrequent.

(Doc. 6-3, pp. 70-71). Mr. Miller testified that the hypothetical individual could

perform light, unskilled work as a folding machine operator, with 58,000 available

jobs nationally; as a garment sorter, with 35,000 available jobs nationally; and as a

cleaner housekeeper, with 241,000 available jobs nationally. (Doc. 6-3, pp. 71-72).
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     Mr. Miller testified that those jobs would not be available for an individual who

had occasional use of his hands for handling, fingering, or feeling. (Doc. 6-3, p. 73).

Mr. Miller stated that an individual could not sustain competitive employment if he

was off task 20% of the workday, had to lay down for more than four hours in a

workday, could not sustain concentration and persist in work-related activities at a

reasonable pace, was in “conflict with supervisors and coworkers,” or could not

interact with coworkers and supervisors. (Doc. 6-3, pp. 73-75).59

                                 THE ALJ’S DECISION

       After the hearing, the ALJ issued an unfavorable decision. (Doc. 6-3, pp. 30-

41). The ALJ found that Mr. Jones had not engaged in substantial gainful activity

since February 10, 2020, the application date.               (Doc. 6-3, p. 32).       The ALJ

determined that Mr. Jones suffered from the severe impairments of cervical

radiculopathy, depression, anxiety, and neurodevelopmental disorders. (Doc. 6-3,

p. 32). Based on a review of the medical evidence, the ALJ concluded that Mr. Jones

did not have an impairment or a combination of impairments that met or medically

equaled the severity of the listed impairments in 20 C.F.R. Part 404, Subpart P,

Appendix 1. (Doc. 6-3, p. 33).



59
    The ALJ noted that Mr. Jones’s attorney’s questions to Mr. Miller regarding interactions with
supervisors, co-workers, and the public stemmed from the limitations in Dr. Nichol’s report. (Doc.
6-3, p. 74). The ALJ stated that Dr. Nichol’s limitations were “not in functional terms based on
the way the Dictionary of Occupational Title reads” and asked the attorney to “put [his questions]
in functional terms.” (Doc. 6-3, pp. 74-75).
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       Considering Mr. Jones’s impairments, the ALJ evaluated Mr. Jones’s residual

functional capacity. The ALJ determined that Mr. Jones had the RFC to perform

light work as defined in 20 CFR 303.1567(b) and 416.967(b) except he frequently

could climb ramps, stairs, ladders, ropes, or scaffolds; frequently could stoop and

crawl; could never work at unprotected heights or with moving mechanical parts;

occasionally could work in humidity, wetness, and extreme cold; could perform

simple, routine tasks and make simple work-related decisions; could interact with

supervisors; could have occasional contact with coworkers, supervisors, and the

general public; and could tolerate infrequent changes in a routine work setting. (Doc.

6-3, p. 34). 60

       Based on this RFC and relying on the testimony from Mr. Miller, the ALJ

concluded that Mr. Jones could perform jobs that existed in significant numbers in

the national economy, including folding machine operator, garment sorter, and

cleaner housekeeper. (Doc. 6-3, pp. 40-41). Accordingly, the ALJ determined that

Mr. Jones was not disabled as defined by the Social Security Act. (Doc. 6-3, p. 41).




60
   In the ALJ’s March 26, 2019 decsion on Mr. Jones’s earlier SSI application, the ALJ found,
among other limitations, that Mr. Jones had the RFC to perform sedentary work but could not
climb ladders or scaffolds, could not crawl, and could “perform jobs dealing primarily with things,
not people.” (Doc. 6-4, p. 10).
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                           STANDARD OF REVIEW

      The scope of review in this matter is limited. “When, as in this case, the ALJ

denies benefits and the Appeals Council denies review,” a district court “review[s]

the ALJ’s ‘factual findings with deference’ and her ‘legal conclusions with close

scrutiny.’” Riggs v. Comm’r of Soc. Sec., 522 Fed. Appx. 509, 510-11 (11th Cir.

2013) (quoting Doughty v. Apfel, 245 F.3d 1274, 1278 (11th Cir. 2001)).

      A district court must determine whether there is substantial evidence in the

record to support the ALJ’s factual findings. See 42 U.S.C. § 405(g). “The phrase

‘substantial evidence’ is a ‘term of art’ used throughout administrative law to

describe how courts are to review agency factfinding. Under the substantial-

evidence standard, a court looks to an existing administrative record and asks

whether it contains ‘sufficien[t] evidence’ to support the agency’s factual

determinations.” Biestek v. Berryhill, 587 U.S. 97, 102-03 (2019) (quoting T-Mobile

South, LLC v. Roswell, 574 U.S. 293, 301 (2015), and Consol. Edison Co. v. NLRB,

305 U.S. 197, 229 (1938)) (emphasis omitted). Substantial evidence means “‘such

relevant evidence as a reasonable mind might accept as adequate to support a

conclusion.’” Biestek, 587 U.S. at 103 (quoting Consol. Edison Co., 305 U.S. at

229); see also Crawford v. Comm’r of Soc. Sec., 363 F.3d 1155, 1158 (11th Cir. 2004)

(same). In evaluating the administrative record, a district court may not “decide the

facts anew, reweigh the evidence,” or substitute its judgment for that of the ALJ.


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Winschel v. Comm’r of Soc. Sec., 631 F.3d 1176, 1178 (11th Cir. 2011) (internal

quotations and citations omitted). If substantial evidence supports the ALJ’s factual

findings, then a district court “must affirm even if the evidence preponderates against

the Commissioner’s findings.” Costigan v. Comm’r, Soc. Sec., 603 Fed. Appx. 783,

786 (11th Cir. 2015) (citing Crawford, 363 F.3d at 1158-59); see also Mitchell v.

Comm’r, Soc. Sec., 771 F.3d 780, 782 (11th Cir. 2014) (same).

      With respect to an ALJ’s legal conclusions, a district court must determine

whether the ALJ applied the correct legal standards. That review is de novo. Lewis

v. Barnhart, 285 F.3d 1329, 1330 (11th Cir. 2002). If a district court finds an error

in the ALJ’s application of the law, or if the court finds that the ALJ failed to provide

sufficient reasoning to demonstrate that the ALJ conducted a proper legal analysis,

then the court must reverse the ALJ’s decision. Schink v. Comm’r of Soc. Sec., 935

F.3d 1245, 1269 (11th Cir. 2019); Cornelius v. Sullivan, 936 F.2d 1143, 1145-46

(11th Cir. 1991).

                                    DISCUSSION

      Mr. Jones contends that the ALJ improperly considered the medical opinions

of several consultative doctors who evaluated Mr. Jones’s mental and physical

limitations. Among other things, Mr. Jones argues that the ALJ did not adequately

evaluate Dr. Bentley’s opinion regarding Mr. Jones’s mental limitations. The Court

agrees.

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       An ALJ must articulate how persuasive “the medical opinions and all of the

prior administrative medical findings in [a claimant’s] case record” are. 20 C.F.R.

§ 416.920c(b). When evaluating the persuasiveness of a medical opinion, an ALJ

must consider supportability, consistency, relationship with the claimant,

specialization, and “other factors.” 20 C.F.R. § 416.920c(1)-(5); see Harner v.

Comm’r of Soc. Sec., 38 F.4th 892, 897 (11th Cir. 2022). The most important factors

are supportability and consistency, and an ALJ must “explain how [she] considered

the supportability and consistency factors for a medical source’s medical opinions .

. . in [her] determination or decision.” 20 C.F.R. § 416.920c(b)(2).61 When

considering the supportability of a medical opinion, “[t]he more relevant the

objective medical evidence and supporting explanations presented by a medical

source are . . . the more persuasive the medical opinions . . . will be.” 20 C.F.R. §

416.920c(c)(1). And when considering the consistency of a medical opinion, “[t]he

more consistent a medical opinion[] . . . is with the evidence from other medical

sources and nonmedical sources in the claim, the more persuasive the medical

opinion[] . . . will be.” 20 C.F.R. § 416.920c(c)(2).




61
   An ALJ does not have to articulate how he considered the other three factors. 20 C.F.R. §
416.920c(b)(2) (“We may, but are not required to, explain how we considered the factors in
paragraphs (c)(3) through (c)(5) of this section . . . when we articulate how we consider medical
opinions . . . in your case record.”).


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      Here, the ALJ stated that she considered the medical opinions and prior

administrative medical findings in accordance with the requirements of 20 C.F.R. §

416.920c. (Doc. 6-3, p. 35). The ALJ stated that she “considered opinion evidence

from 2013 associated with a prior application for disability (Exhibits C44F, C45F,

C46F), and [found] them to be persuasive for the time period in which they were

offered,” but she found “more persuasive [Mr. Jones’s] current records.” (Doc. 6-3,

p. 40). Dr. Bentley’s June 2012 mental evaluation is Exhibit C44F; his May 2013

mental medical source statement is Exhibit C45F. So, the ALJ found Dr. Bentley’s

opinion persuasive based on Mr. Jones’s mental condition in 2013 but found that

Mr. Jones’s more recent mental health records were inconsistent with and more

persuasive than Dr. Bentley’s opinion. The ALJ did not identify the current records

that she found more persuasive than Dr. Bentley’s opinion, and the Court cannot tell

what current records the ALJ had in mind. Dr. Bentley’s 2013 opinion that Mr.

Jones had marked impairment in his ability to interact appropriately with the public,

supervisors, and co-workers, (Doc. 6-10, p. 195), was mostly consistent with Dr.

Rodrigues’s July 2020 and Dr. Fleece’s January 2021 opinions that Mr. Jones had

marked limitation in his ability to interact appropriately with the general public and

“would be expected to have occasional . . . conflicts with co-workers,” (Doc. 6-4,

pp. 45-46, 66-70). The ALJ found Dr. Rodrigues’s and Dr. Fleece’s opinions

persuasive and stated that they found Mr. Jones “had no more than moderate


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‘paragraph B’ limitations.” (Doc. 6-3, p. 39). The ALJ did not mention Dr.

Rodrigues’s or Dr. Fleece’s opinion that Mr. Jones had marked limitation in his

ability to interact with the public or that Mr. Jones occasionally would be expected

to have conflict with co-workers and supervisors because of his mental impairments.

      Mr. Jones’s more recent records support Dr. Bentley’s, Dr. Rodrigues’s, and

Dr. Fleece’s opinions that Mr. Jones had marked limitations in his ability to interact

with others in a work setting. In January 2018, Mr. Jones’s therapist noted that Mr.

Jones threatened a shootout with police regarding his impounded car. (Doc. 6-14,

p. 155). Mr. Jones cursed his therapist at CED in May 2018. (Doc. 6-14, p. 151).

Mr. Jones was volatile and had an aggressive tone with his therapist in August 2018

and was verbally abusive to medical staff at CED in September 2018. (Doc. 6-14,

pp. 145-147).    In December 2018, his therapist noted Mr. Jones’s history of

aggressive behavior. (Doc. 6-12, p. 21). In August 2019, CRNP Morris increased

Mr. Jones’s therapy sessions to address his anger management. (Doc. 6-12, p. 22).

Mr. Jones struggled with anger outburst in April 2020 and requested monthly

therapy session to deal with his anger. (Doc. 6-20, p. 162). In April 2020, Mr. Jones

reported increased irritability and agitation with others. (Doc. 6-20, pp. 159-160).

In May 2020, Mr. Jones had anger outbursts, was verbally abusive to his family, and

made threatening statements regarding police. (Doc. 6-10, p. 156). Mr. Jones was

frustrated and angry in July 2020 and did not understand why people were “messing


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with him.” (Doc. 6-20, p. 152). Mr. Jones cursed staff in Dr. Patel’s office in

October 2020. (Doc. 6-12, p. 127). In November 2020, Mr. Jones reported increased

anger and had paranoid thoughts about his lawyer and medical providers. (Doc. 6-

20, 148). Mr. Jones reported daily anger outbursts in February 2021. (Doc. 6-20, p.

143). Mr. Jones was prescribed psychiatric medications during his incarceration at

Cherokee County jail from August 2021 through February 2023. (Doc. 6-21, pp.

58-158). Records pf Mr. Jones’s anger outbursts, agitation, irritability, and paranoia

from 2018 forward support Dr. Bentley’s 2013, Dr. Rodrigues’s 2020, and Dr.

Fleece’s 2021 opinions that Mr. Jones had a marked limitation in his ability to

interact appropriately with others in a work setting.

      The ALJ found that Mr. Jones had moderate limitations in his ability to

interact with others in a work setting. (Doc. 6-3, p. 33). The ALJ recognized that

Mr. Jones alleged that he had difficulty in his ability to engage in social activities

and get along with others, (Doc. 6-3, p. 33), but the ALJ noted that, according to Mr.

Jones’s statements, he could “get along with others, shop, spend time with friends

and family, and live with others” and was “pleasant and cooperative” with doctors.

(Doc. 6-3, p. 33). Mr. Jones’s ability to shop occasionally does not negate his

inability to respond appropriately to co-workers, supervisors, and the public in a

work setting because of his bipolar symptoms. “‘[T]he ability to complete tasks in

settings that are less demanding than a typical work setting does not necessarily


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demonstrate an applicant’s ability to complete tasks in the context of regular

employment during a normal workday or work week.’” Smith v. Comm’r of Soc.

Sec., No. 5:21-cv-00551-PRL, 2024 WL 963725, at *5 (11th Cir. Mar. 6, 2024)

(unpublished) (quoting Schink, 935 F.3d at 1266).

       The Court has not found evidence in the record that Mr. Jones got along with

his family or spent time with friends. Mr. Jones reported that he was socially

withdrawn, (Doc. 6-20, pp. 199, 201); did not want to be around people, (Doc. 6-13,

p. 132); had no friends, (Doc. 6-12, p. 66); did not spend time with others, (Doc. 6-

8, pp. 23, 24); and did not get along with family or authority figures, (Doc. 6-8, pp.

24, 25). Records post-dating Dr. Bentley’s 2013 opinion reflect that Mr. Jones had

difficulty interacting appropriately with authority figures, medical providers, and

family members. The fact that a few doctors noted on a few ocassions that Mr. Jones

was pleasant and cooperative does not indicate that Mr. Jones could sustain work

pressures involving co-workers, supervisors, and the public or interact appropriately

with others in a work setting. 62

       The ALJ did not meet her obligation to explain the supportability and

consistency of Dr. Bentley’s opinion regarding Mr. Jones’s inability to interact


62
   The Commissioner argues unpersuasively that Dr. Bentley’s opinions that “predate the alleged
onset disability date are of limited relevance to the question of disability” and that “mental health
records during the relevant period demonstrate greater functioning than Dr. Bentley assessed.”
(Doc. 10, p. 19). As noted, Dr. Bentley’s opinion that Mr. Jones had a marked limitation in his
ability to interact appropriately in the work setting is mostly consistent with Dr. Rodrigues’s and
Dr. Fleece’s opinions and with Mr. Jones’s more recent mental health records.
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appropriately in the work setting. Dr. Bentley’s opinion about Mr. Jones’s marked

limitation in his ability to appropriately interact with the public, supervisors, and co-

workers in the work setting is significant because VE Miller testified that an

individual could not sustain competitive employment if he could not interact

appropriately in a work setting or was in conflict with coworkers and supervisors.

(Doc. 6-3, pp. 73-75). And the ALJ’s inclusion in Mr. Jones’s RFC that he could

interact appropriately with supervisors ignores Dr. Rodrigues’s and Dr. Fleece’s

opinion that Mr. Jones had moderate limitation and Dr. Bentley’s opinion that Mr.

Jones had marked limitation in his ability to interact appropriately with supervisors.

The ALJ’s RFC assessment that Mr. Jones could have occasional contact with the

general public does not account for Dr. Bentley’s, Dr. Rodrigues’s, and Dr. Fleece’s

opinions that Mr. Jones has marked limitations in his ability to interact appropriately

with the public.

      Because the ALJ did not provide sufficient reasoning to demonstrate that she

conducted a proper legal analysis in evaluating Dr. Bentley’s opinion, remand is

appropriate. See Cornelius v. Sullivan, 936 F.2d 1143, 1145-46 (11th Cir. 1991)

(The ALJ’s “failure to apply the correct law or to provide the reviewing court with

sufficient reasoning for determining that the proper legal analysis has been

conducted mandates reversal”); see also Spaar v. Kijakazi, No. 5:20-cv-94, 2021

WL 6498838, at *5, report and recommendation adopted, 2022 WL 141613 (S.D.


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Ga. Jan. 14, 2022) (concluding that error in failing to address the supportability of

medical opinions could not be harmless under the new regulations where the medical

opinions, if adopted as a component of the claimant’s RFC, could have resulted in

the difference between performing light work and being disabled).63

       Regarding Dr. Nichols’s opinion, the ALJ included Dr. Nichol’s 2017 opinion

as Exhibit C22F and Exhibit C48F to the administrative decision, (Doc. 6-3, pp. 47,

49), but the ALJ did not mention Dr. Nichols’s opinion in the administrative decision

or discuss the supportability and consistency of the opinion as required by §

416.920c. The Court has not found authority that exempts from the articulation

requirement a medical opinion in the record dated before an SSI application date.

On remand, the ALJ should articulate the supportability and consistency of Dr.

Nichols’s opinion as required by § 4126.920c. 64


63
   Because the Court will remand based on the ALJ’s improper evaluation of Dr. Bentley’s
opinions, the Court will not decide the other issues Mr. Jones raised in his brief.
64
   The ALJ also should consider the combined effects of Mr. Jones’s chronic, severe pain and
severe mental impairments in determining Mr. Jones’s RFC. “The RFC assessment must be based
on all relevant evidence in the case record” including medical history, reports of daily activities,
medical source statements, and the effects of symptoms. SSR 96-8p at *5 (italics in SSR 96-8p).
In assessing a claimant’s RFC, an ALJ must consider the combined effect of the claimant’s
impairments; an ALJ cannot selectively or separately account for impairments in an RFC and
overlook how the impairments collectively impact the claimant’s residual functional capacity.
Schink, 935 F.3d at 1269 (stating that in determining a claimant’s RFC, an ALJ must evaluate that
“claimant’s medical condition taken as a whole”).

As discussed in the Court’s summary of Mr. Jones’s medical records, Mr. Jones has consistently
reported severe neck and back pain since at least 2013, and objective medical evidence of moderate
to severe cervical stenosis supports his complaints of chronic pain. The fact that doctors did not
consider Mr. Jones a surgical candidate does not negate Mr. Jones’s severe pain. In 2015, Dr.
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                                      CONCLUSION

       For the reasons discussed above, the Court remands this matter to the

Commissioner for further proceedings consistent with this opinion.

       DONE and ORDERED this March 26, 2025.


                                         _________________________________
                                         MADELINE HUGHES HAIKALA
                                         UNITED STATES DISTRICT JUDGE




Brockingham agreed with Dr. Handley’s opinion that Mr. Jones was not a surgical candidate, but
Dr. Brockingham thought that Mr. Jones might have a “nerve root avulsion injury and/or cord
injury” for which there was no treatment except “long term pain management.” (Doc. 6-19, p. 56).
Several doctors have referred Mr. Jones to pain management since 2013, and Dr. Meador noted in
2016 that Mr. Jones’s “illness [was] incurable” and that his pain management options were
“limited due to his Medicaid insurance.” (Doc. 6-14, pp. 28, 33).

Dr. Bentley noted Mr. Jones’s pain behavior during a mental evaluation and suggested that Mr.
Jones would have a marked impairment in his ability to work because of his chronic pain. (Doc.
6-10, p. 203). Dr. Nichols noted that Mr. Jones’s prognosis for significant improvement in his
mental condition was poor based partly on Mr. Jones’s chronic pain. (Doc. 6-13, p. 134). Dr.
Blanton indicated that Mr. Jones’s anxiety and depression were “likely due to multiple medical
problems and worsened chronic pain.” (Doc. 6-12, p. 66). On remand, the ALJ should discuss
the combined effects of Mr. Jones’s chronic pain and severe mental impairments in determining
his RFC.



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